Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 1 of 146 PageID #: 7088
                  Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions
                                                                                            WILMINGTON
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                                                  June 6, 2023
                                                                       Redacted - Public Version Filed on:
   BY E-FILE (UNDER SEAL) AND HAND DELIVERY
                                                                       June 20, 2023
       The Honorable Sherry R. Fallon
       United States District Court of Delaware
       844 North King Street
       Wilmington, DE 19801

                    Re:       Sight Sciences, Inc. v. Ivantis, Inc., C.A. No.: 21-1317-GBW-SRF

   Dear Judge Fallon:

   I write on behalf of my client, Sight Sciences, Inc. (“Sight”) to respectfully request that the Court
   compel Defendants Ivantis Inc. (“Ivantis”), Alcon Research, LLC, Alcon Vision LLC, and Alcon
   Inc. (collectively, “Defendants”) to produce a narrow set of litigation materials from Glaukos
   Corp. v. Ivantis, Inc., No. 8:18-cv-00620-JVS-JDE (C.D. Cal.) (“Glaukos”) and its related appeal,
   In re Ivantis, Inc., C.A. No. 20-147 (Fed. Cir.). Glaukos involved the same accused product as
   this case, the Hydrus Microstent (“the Hydrus”), and the patents asserted by Glaukos Corp.
   (“Glaukos”) are related to prior art relied upon by Defendants in this case.1

   I.        Factual Background

   Sight’s RFP Nos. 85, 86, 93, and 165 seek materials relating to Glaukos, and RFP No. 168 seeks
   materials from the related appeal, where Ivantis unsuccessfully appealed a spoliation finding. On
   May 11, 2023, Sight narrowed the materials requested by these RFPs to the following list:

         a. Deposition transcript of Reay Brown, co-inventor of the Glaukos patents-in-suit
         b. Deposition transcript of Mary Lynch, co-inventor of the Glaukos patents-in-suit
         c. Ivantis’s responses to any interrogatories or RFAs propounded by Glaukos relating to
            non-infringement, invalidity, and invention of the Hydrus
         d. Unredacted briefs and appendices filed in In re Ivantis, Inc., C.A. No. 20-147 (Fed. Cir.)
         e. Kenneth Galt (Ivantis VP R&D): 9/13/2019 Deposition Transcript
         f. Andrew Iwach (Invalidity Expert): 2/12/2020 Deposition Transcript
         g. Mohan Rao (Damages Expert): 2/6/2020 Deposition Transcript
         h. Douglas Rhee (Medical Expert): Expert Report; Deposition Transcript
         i. Angelo Tanna (Medical Expert): 2/7/2020 Deposition Transcript

   1
     The parties are continuing to meet and confer in advance of the June 29, 2023 close of fact
   discovery regarding additional discovery disputes that Sight hopes to resolve without the need for
   motion practice.
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Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 2 of 146 PageID #: 7089

   Young Conaway Stargatt & Taylor, LLP
   The Honorable Sherry R. Fallon
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          j. Harold Walbrink (Technical Expert): Expert Report; 1/24/2020 Deposition Transcript

   See Ex. 1.2 During the parties’ May 16, 2023 meet and confer, Defendants objected to producing
   these materials because they contain Glaukos confidential information.

   II.       Legal Standards

   Materials from a previous litigation, including deposition transcripts, expert reports, and discovery
   responses, are discoverable when the previous litigation involves the same accused product as the
   current litigation, even if those materials contain a third party’s confidential information. Oral
   Order, Rex Med., LP v. Intuitive Surgical, Inc., C.A. No. 19-00005-MN-SRF (D. Del. Oct. 5, 2021)
   (Ex. 2) (compelling defendant to produce “transcripts, expert reports, and discovery responses”
   from defendant’s prior litigation involving the same accused product, and explaining that, “[a]s
   the producing party, Defendant shall promptly provide [the plaintiff in that prior litigation] with a
   copy of this Order to provide notice and obtain, if required, consent to disclose confidential third
   party information”); see also Discovery Order, Sonos Inc. v. D&M Holdings Inc., C.A. No. 14-
   1330-RGA, D.I. 288 at 1-2 (D. Del. June 2, 2017) (Ex. 3) (ordering defendant to produce “expert
   reports, declarations, and deposition testimony” from a previous case where the accused products
   were the same as the “commercial embodiments” of the patents in that case); Special Master Order
   #11, TQ Delta, LLC v. Dish Network Corp., C.A. No. 15-614-RGA, D.I. 393 at 1, 5-10 (D. Del.
   Feb. 1, 2022) (Ex. 4) (finding that “expert reports, declarations, and testimony transcripts of [a
   party’s expert] from other . . . litigations relating to patents from the same family as the patents
   asserted in this case” were “relevant to the claims and defenses in the present action” and ordering
   them to be produced in “unredacted form” in part because plaintiff already possessed unredacted
   copies of the litigation materials and the materials could be designated as Attorneys’ Eyes Only),
   so ordered, D.I. 404 (D. Del. Feb. 23, 2022); Oral Order, Personal Audio LLC v. Google LLC,
   C.A. No. 17-1751-CFC-CJB (D. Del. Feb. 27, 2019) (Ex. 5); Oral Order, Int’l Bus. Machs. Corp.
   v. Expedia, Inc., C.A. No. 17-1875-LPS-CJB, D.I. 193 (D. Del. Aug. 21, 2019) (Ex. 6); Oral Order,
   Natera, Inc. v. ArcherDX, Inc., C.A. No. 20-125-LPS, D.I. 167 (D. Del. Apr. 1, 2021) (Ex. 7).

   III.      RFP Nos. 85 and 86 – Deposition Testimony and Expert Reports

   RFP No. 85 seeks “[a]ll deposition testimony by any Ivantis fact or expert witness in [Glaukos].”
   RFP No. 86 seeks “[a]ll expert reports served by Ivantis’s experts in [Glaukos].” Sight narrowed
   RFP No. 85 to only seek deposition transcripts for Kenneth Galt, Andrew Iwach, Mohan Rao,
   Douglas Rhee, Angelo Tanna, and Harold Walbrink. Ex. 1. Sight narrowed RFP No. 86 to only
   seek expert reports for Douglas Rhee and Harold Walbrink. Id. The relevance of the requested
   materials is summarized below:

   2
     Sight also sent this narrowed list on May 11, 2023 to counsel for Glaukos. Counsel for Glaukos
   responded that “it is premature to involve” Glaukos and suggested reaching back out when “Sight
   Sciences and Ivantis agree on a scope of production, and Ivantis provides authorization for Glaukos
   to review specific documents to determine whether Glaukos information is contained therein.” Ex.
   8. Glaukos previously agreed that Defendants could produce the Glaukos and Ivantis settlement
   agreement in this litigation on an “Outside Attorneys’ Eyes Only” basis.
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   June 6, 2023
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   a. Kenneth Galt (9/13/2019 Deposition Transcript):              Mr. Galt was V.P., Research and
         Development at Ivantis and passed away in 2022. Mr. Galt was involved in development of
         the Hydrus and evaluation of           intellectual property. See Ex. 9, Van Meter Dep. Tr. at
         13:18-21 (noting that Ken Galt “was responsible for our intellectual property portfolio”); see
         also id. at 87:1-13 (explaining that Ken Galt would give investors an “overview of our freedom
         to operate . . .                          ”).
   b.    Andrew Iwach (2/12/2020 Deposition Transcript): Defendants identified Dr. Iwach as an
         expert in this case and his prior testimony on patent validity is relevant because the patents
         asserted by Glaukos are related to prior art relied upon by Defendants in this case.
   c.    Mohan Rao (2/6/2020 Deposition Transcript): Dr. Rao was Ivantis’s damages expert. Dr.
         Rao’s opinions are relevant to Defendants’ damages defenses in this case.
   d.    Douglas Rhee (Expert Report; Deposition Transcript): Dr. Rhee’s opinions on the safety and
         efficacy of the Hydrus are relevant to issues of market definition and competition in this case.
   e.    Angelo Tanna (2/7/2020 Deposition Transcript): Defendants have identified Dr. Tanna as an
         expert in this case, and Dr. Tanna testified in the claim construction portion of this case. Dr.
         Tanna’s testimony is relevant to positions he may take in the current case.
   f.    Harold Walbrink (Expert Report; 1/24/2020 Deposition Transcript): Dr. Walbrink is an
         infringement expert. Dr. Walbrink’s testimony is relevant to the non-infringement positions
         Defendants are taking in the current case.

   Defendants should be compelled to produce this narrowed list of deposition transcripts and expert
   reports from Glaukos because this litigation and Glaukos involve the same accused product, the
   Hydrus. Ex. 2. Defendants may argue that production of these materials is prohibited by the
   Protective Order in Glaukos. That argument is unpersuasive, as the materials could be designated
   under the Protective Order in this case. Moreover, Glaukos already agreed that the confidentiality
   of its settlement agreement with Ivantis would be adequately protected by the Protective Order in
   this case, and that agreement was produced unredacted. All of the requested materials should also
   already be in Ivantis’s possession or control by virtue of Ivantis being a party in Glaukos.

   IV.      RFP No. 93 – Deposition Testimony of Prior Art Inventors/Authors

   RFP No. 93 seeks “[a]ll deposition testimony by any inventor or author (including but not limited
   to Reay Brown or Mary Lynch) of any patent or publication (including patent publications) that
   You contend is prior art to the Patents-in-Suit that was given in [Glaukos].” Sight narrowed this
   request to only seek the deposition transcripts of Dr. Reay Brown and Dr. Mary Lynch. Ex. 1. Dr.
   Brown and Dr. Lynch were co-inventors on patents asserted in Glaukos, and Defendants have cited
   Brown/Lynch references related to these patents as prior art in the current case.3 Dr. Brown’s
   deposition in this case is set for June 29. It is unlikely that these transcripts contain Glaukos
   confidential information, since Dr. Brown and Dr. Lynch were never Glaukos employees.
   (Glaukos purchased the patents from Dr. Brown’s and Dr. Lynch’s former employer.) Even if

   3
     Glaukos asserted U.S. Patent Nos. 6,626,858 and 9,827,243. Three prior art references relied
   upon in Defendants’ invalidity contentions (US 2005/0038334, WO 00/64391, US 2005/0090807)
   claim priority to the same Provisional Appl. No. 60/131,030. (Ex. 10, at pp. 5, 7, 11.)
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                    Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions
   Young Conaway Stargatt & Taylor, LLP
   The Honorable Sherry R. Fallon
   June 6, 2023
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   they did contain Glaukos confidential information, Defendants should be compelled to produce
   them for the same reason as for RFP No. 85 above. See Ex. 2.

   V.     RFP No. 165 – Ivantis’s Responses to Interrogatories and RFAs in Glaukos

   RFP No. 165 seeks “Your responses to any interrogatories or requests for admission propounded
   by Glaukos Corporation in [Glaukos].” Sight narrowed this request to seek only Ivantis’s
   responses to any interrogatories or RFAs propounded by Glaukos relating to non-infringement,
   invalidity, and invention of the Hydrus. Ex. 1. Ivantis’s sworn statements related to the Hydrus
   are relevant because the Hydrus is also an accused product here. Ivantis’s sworn statements related
   to the teachings of the prior art are also relevant because the asserted patents in Glaukos are related
   to Brown/Lynch prior art relied upon by Defendants in this case. Accordingly, Defendants should
   be compelled to produce this narrowed list of discovery responses. Ex. 2.

   VI.    RFP No. 168 – Unredacted Briefs and Exhibits filed in In re Ivantis, Inc.

   RFP No. 168 seeks “[u]nredacted copies of all briefs and appendices filed in In re Ivantis, Inc.,
   C.A. No. 20-147 (Fed. Cir.).” These documents relate to Ivantis’s appeal of the district court’s
   order finding intentional spoliation by Ivantis. See Ex. 11, Glaukos Corp. v. Ivantis, Inc., No.
   8:18-cv-00620-JVS-JDE, 2020 WL 10501850, at *4-5 (C.D. Cal. June 17, 2020) (finding that an
   adverse inference instruction “should be imposed in light of Ivantis’s spoliation”); Ex. 12, In re
   Ivantis, 835 F. App’x 560 (Fed. Cir. 2020) (denying Ivantis’s petition for a writ of mandamus).
   These documents are relevant to the question of whether spoliation affected this matter.
   Defendants’ purported earliest knowledge of U.S. Pat. No. 8,287,482 (a patent-in-suit) as 2016,
   four years post-issuance (see Ex. 13, p. 5), contradicts other evidence, namely: (1) In a January 7,
   2009 meeting between Doug Roeder, a member of Ivantis’s board of directors, and Paul Badawi,
   one of the inventors, Mr. Roeder offered (on behalf of Ivantis) to purchase the patent application
   leading to the patents-in-suit and Mr. Badawi refused, stating his intention to build a company
   based on this IP (see Ex. 14, pp. 43-44); (2) Ivantis hired patent litigators from Arnold & Porter in
   2013 (see Ex. 15, In re Ivantis, Inc., C.A. No. 20-147, D.I. 15 at 23 (Fed. Cir. Sept. 15, 2020)); (3)
   Ivantis instituted an automatic email deletion policy that deleted emails dated June 2013 to April
   2017 (see Ex. 16, Glaukos, D.I. 495-12, ¶¶3-5 (C.D. Cal. Apr. 10, 2020))4; (4) Ivantis conducted
   regular evaluations of the IP landscape (e.g., Ex. 17, at IVANTIS_SS_00165094); (5) Ivantis’s
   CEO admitted that it performed freedom to operate analyses on                          patents (Ex. 9,
   Van Meter Dep. Tr. at 13:18-21; 87:1-13); and (6) Ivantis argued unsuccessfully in Glaukos that
   its retention of outside counsel to perform patent diligence was not related to that litigation (Ex.
   11, *4). See also Ex. 18, pp. 10-16. Defendants should be compelled to produce documents
   responsive to RFP No. 168, as the foregoing evidence shows that Ivantis sought and failed to buy
   the parent patent application to the patents-in-suit, knew or should have known of the patents-in-
   suit when they issued, hired litigation counsel, and yet, instituted and maintained an email auto-
   deletion policy in effect for three years while these events were unfolding.

   4
     The earliest entry in Defendants’ privilege log served in this case is dated November 2, 2016
   (i.e., during the spoliation period).
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   Young Conaway Stargatt & Taylor, LLP
   The Honorable Sherry R. Fallon
   June 6, 2023
   Page 5

                                             Respectfully,

                                             /s/ Melanie K. Sharp

                                             Melanie K. Sharp (No. 2501)

   MKS:mg

   cc:   All Counsel of Record (by e-mail)
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                           EXHIBIT A
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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELAWARE

  SIGHT SCIENCES, INC.,                             )
                                                    )         C. A. No.: 21-1317-GBW-SRF
                  Plaintiff,                        )
                                                    )         JURY TRIAL DEMANDED
                               v.                   )
                                                    )
  IVANTIS, INC., ALCON RESEARCH LLC,                )
  ALCON VISION, LLC AND ALCON INC.,                 )
                                                    )
                  Defendants.                       )

    PROPOSED ORDER GRANTING SIGHT SCIENCES, INC.’S MOTION TO COMPEL

            Upon consideration of Plaintiff Sight Sciences, Inc.’s (“Sight”) Motion to Compel (“the

   Motion”), and all related pleadings and argument:

            IT IS HEREBY ORDERED that:

            1.     The Motion is GRANTED.

            2.     Within (7) days of this Order, Defendants shall produce unredacted copies of all

   briefs and appendices filed in In re Ivantis, Inc., C.A. No. 20-147 (Fed. Cir.), and the following

   materials from Glaukos Corp. v. Ivantis, Inc., No. 8:18-cv-00620-JVS-JDE (C.D. Cal.):

                   a.      Transcripts (and any errata) of depositions of Kenneth Galt, Andrew Iwach,

   Mohan Rao, Douglas Rhee, Angelo Tanna, Harold Walbrink, Reay Brown, and Mary Lynch;

                   b.      Expert reports of Douglas Rhee and Harold Walbrink; and

                   c.      Ivantis’s responses to any interrogatories or requests for admission

   propounded by Glaukos Corp. relating to non-infringement, invalidity, and invention of the Hydrus

   Microstent.

            SO ORDERED this _________ day of ______________, 2023.


                                                        United States Magistrate Judge
   30364699.2
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                            EXHIBIT 1
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 9 of 146 PageID #: 7096




   From: Strosnick, Lauren
   Sent: Thursday, May 11, 2023 2:28 PM
   To: 'Merideth, Vicki' <vicki.merideth@kirkland.com>; Armon, Orion <oarmon@cooley.com>;
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   Madrigal, Angela R. <AMadrigal@cooley.com>
   Cc: SKIvantis@shawkeller.com; #Alcon-SightSciences <Alcon-SightSciences@kirkland.com>
   Subject: RE: C.A. No. 21-1317-VAC-SRF Sight Sciences, Inc. v. Ivantis, Inc., et al. - Correspondence

   Counsel,

   As discussed on our May 5 meet-and-confer and referenced in your May 10 letter, below is a narrowed
   list of Glaukos litigation materials that we will share with Glaukos’s counsel. We propose that these
   documents be produced as HC-AEO for preliminary review. To the extent any information contained in
   these documents is Glaukos confidential information, Sight will seek permission from Glaukos before
   citing any confidential portions. In any event, we will request written confirmation as to whether or not
   the below materials have been designated as containing Glaukos confidential information. Additionally,
   we plan to ask Glaukos to cooperate in providing Dr. Brown and Dr. Lynch full unredacted copies of their
   respective deposition transcripts and any errata if they so request.
        • Deposition transcript of Reay Brown
                  o Dr. Brown is a witness in the Sight case and was a co-inventor on patents asserted by
                     Glaukos in the prior litigation. Ivantis has cited prior art references related to these
                     patents as prior art in the current case. It is our understanding that Dr. Brown licensed
                     his patents to Glaukos, but was never employed by Glaukos and did not have access to
                     Glaukos confidential information.
        • Deposition transcript of Mary Lynch
                  o Dr. Lynch was a co-inventor (with Dr. Brown) on patents asserted by Glaukos in the prior
                     litigation. Ivantis has asserted prior art references related to these patents in the
                     current case. It is our understanding that Dr. Lynch licensed her patents to Glaukos, but
                     was never employed by Glaukos and did not have access to Glaukos confidential
                     information.
        • Ivantis’s responses to any interrogatories or RFAs propounded by Glaukos relating to non-
             infringement, invalidity, and invention of the Hydrus
                  o Ivantis’s sworn statements related to the Hydrus and as to prior art publications are
                     highly relevant to the current case.
        • Unredacted briefs and appendices filed in In re Ivantis, Inc., C.A. No. 20-147 (Fed. Cir.)
                  o These documents relate to Ivantis’s appeal of the district court’s order finding
                     intentional spoliation by Ivantis. Ivantis’s institution of a document destruction
                     policy in 2013, after it engaged litigation counsel and after it became aware of the
                     patent application leading to the patents-in-suit, is highly relevant to the question of
                     whether Ivantis improperly destroyed documents to deprive Sight of those
                     documents in a future litigation.
        • Kenneth Galt: 9/13/2019 Deposition Transcript
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                              Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions

                  o  Mr. Galt was V.P., Research and Development at Ivantis and passed away in 2022. Mr.
                     Galt appears to have been involved in development of the Hydrus and evaluation of
                     competitors’ intellectual property, including freedom to operate. See Van Meter Dep.
                     Tr., 13:18-21 (IVANTIS_SS_00172382) (noting that Ken Galt “was responsible for our
                     intellectual property portfolio”); see also id. at 87:1-13 (IVANTIS_SS_00172456)
                     (explaining that Ken Galt would give investors an “overview of our freedom to operate .
                                                       In view of Sight’s inability to take Mr. Galt’s deposition,
                     Sight requests this transcript.
        •     Andrew Iwach: 2/12/2020 Deposition Transcript
                 o Defendants have identified Dr. Iwach as an expert in this case, and his prior testimony is
                     highly relevant to the invalidity positions Defendants are taking in the current case.
        •     Mohan Rao: 2/6/2020 Deposition Transcript
                 o Dr. Rao is a damages expert who presumably provided Ivantis’s assessment of the
                     market in which the Hydrus competes, including market share, assessment of lost
                     profits and reasonable royalties. Dr. Rao’s assessments would be highly relevant to
                     positions Ivantis is taking in the current case.
        •     Douglas Rhee: Expert Report; Deposition Transcript
                 o Dr. Rhee’s report offers opinions on the safety and efficacy of Ivantis’ Hydrus product,
                     which are relevant at least to the positions Defendants are taking on the fact of the
                     Hydrus’ safety and efficacy data in the context of assessing the market in which the
                     Hydrus competes for damages.
        •     Angelo Tanna: 2/7/2020 Deposition Transcript
                 o Defendants have identified Dr. Tanna as an expert in this case, and Dr. Tanna has
                     testified in the claim construction portion of this case. Dr. Tanna’s prior testimony is
                     highly relevant to positions he may take in the current case.
        •     Harold Walbrink: Expert Report; 1/24/2020 Deposition Transcript
                 o Dr. Walbrink is an infringement expert whose report and testimony offer opinions on
                     the Hydrus’ functionality. Dr. Walbink’s prior testimony is highly relevant to the non-
                     infringement positions Defendants are taking in the current case.

    We will copy you on our email to Glaukos’s counsel. To the extent you claim that you are not in
    possession of these materials, we understand that the information we have requested in discovery, if
    not yet in K&E’s possession by its discovery collection in this action, is or should be in Ivantis’ possession
    or control. For example, Ivantis is obligated to request the information from its own counsel in the
    Glaukos matter.

    For clarity, we understand that Defendants already have and will produce (to the extent you have not
    already) the requested expert reports and deposition transcripts for Todd Abraham, Gary Condon, and
    Andrew Schieber, as you stated on the April 26 meet-and-confer. Your May 10 letter states that these
    transcripts and reports “will include any appropriate redactions” – please confirm that these redactions
    will be limited to Glaukos confidential information.

    Thanks,
    Lauren

    Lauren Strosnick
    Direct: +1 650 843 5065
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 11 of 146 PageID #: 7098




    From: Merideth, Vicki <vicki.merideth@kirkland.com>
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    Cc: SKIvantis@shawkeller.com; #Alcon-SightSciences <Alcon-SightSciences@kirkland.com>
    Subject: RE: C.A. No. 21-1317-VAC-SRF Sight Sciences, Inc. v. Ivantis, Inc., et al. - Correspondence

    [External]

    Counsel,

    Please see the attached correspondence. Thank you.


    Vicki Merideth
    Senior Paralegal
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    and destroy this communication and all copies thereof, including all attachments.
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                             EXHIBIT 2
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                             EXHIBIT 3
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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

  SONOS INC.,

                         Plaintiff,

                 v.                                     Civil Action No. 14-1330-RGA

  D&M HOLDINGS INC., et al.,

                         Defendants.


  D&M HOLDINGS, INC., et al.,

                         Plaintiffs,

                 v.                                     Civil Action No. 16-141-RGA

  SONOS, INC.,

                         Defendant.


                                      AMENDED DISCOVERY ORDER

          The parties have a dispute. (No. 14-1330, D.I. 272, 276).

          D&M seeks expert reports, declarations, and deposition testimony of three Sonos experts

  in this case who were also experts in a 2014 patent case brought against Sonos by a third party,

  and also seeks deposition testimony and declarations of Sonos’ fact witnesses in the prior

  litigation.

          D&M states that the “wireless audio products” accused in the prior litigation are “the

  same products” as are accused in No. 16-141 and the “commercial embodiments” of the patents

  asserted in No. 14-1330. (D.I. 272 at 1). Sonos responds that the Sonos products accused of

  infringement in the first case are “not at issue” in these cases. (D.I. 276 at 1). It appeared to me
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  that both assertions could not be true, and upon further inquiry (D.I. 277), I learned that the

  conflict was the result of a typographical error. (D.I. 280). Thus, my concern about the honesty

  of representations that were being made to me is resolved.

          I do not need to reschedule the discovery conference. Sonos offered to produce the

  “BHM Case materials” in the 16-141 case. (D.I. 280, 9). I assume by “BHM Case materials,”

  Sonos means what D&M calls the “BHM Documents.” (D.I. 272 at 1). Sonos is ORDERED to

  make that production. Sonos states that the production is irrelevant to the 14-1330 case, as the

  fact that some of the accused products in the BHM litigation are asserted as commercial

  embodiments of the asserted patents in the 14-1330 case does not make anything in the BHM

  case relevant to any of the issues in the 14-1330 case. (D.I. 280, 7). It is certainly the case that

  the materials would be, at minimum, much less relevant to the 14-1330 case than to the 16-141

  case. If there were nothing but the 14-1330 case, this might be a difficult decision. However,

  there is no extra burden to Sonos producing the materials in both cases, and there is some

  marginal possibility that some of it will be relevant to the 14-1330 case. Thus, Sonos is

  ORDERED make the production in the 14-1330 case also.

         IT IS SO ORDERED this r day of June 2017.
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                             EXHIBIT 4
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

   TQ DELTA, LLC,

                           Plaintiff,
                                                                   Civil Action No. 15-614-RGA
           v.


   DISH NETWORK CORPORATION, et al.,                      :

                           Defendants.                    :

                SPECIAL MASTER ORDER #11 - RULING ON DISH DEFENDANTS’
                MOTION TO COMPEL PRODUCTION OF UNREDACTED EXPERT
                REPORTS, DECLARATIONS, AND TESTIMONY TRANSCRIPTS OF
                TQ DELTA, LLC’S TECHNICAL EXPERT, DR, VIJAY MADISETTI


   I.      INTRODUCTION

           Pending before the Special Master is Defendants DISH Network Corp., DISH Network

   LLC, DISH DBS Corp., and DISH Technologies L.L.C.’s (collectively “DISH”) motion to compel

   Plaintiff TQ Delta, LLC (“TQ Delta” or “Plaintiff’) to produce unredacted expert reports,

   declarations, and testimony transcripts of its technical expert, Dr. Vijay Madisetti (“Dr.

   Madisetti”), from other TQ Delta litigations relating to patents from the same family as the patents

   asserted in this case,1 and any future opinions or testimony offered by its experts in other litigations

   relating to patents from the same family as the patents asserted in this case (D.I. 380) (the

   “Motion”).2 DISH further requests an award of its fees and costs in connection with this Motion.

   (Op. Br. at 3). On January 25, 2022, TQ Delta submitted its answering brief in opposition to the




   1 This Order refers to any and all expert reports, declarations, and testimony transcripts of its
   technical expert, Dr. Madisetti, from other TQ Delta litigations relating to patents from the same
   family as the patents asserted in this case as the “Prior Litigation Materials”.
   2 In support of the Motion, DISH lodged upon the Special Master an Opening Letter Brief dated
   January 18, 2021 (“Opening Brief’ or “Op. Br.”).
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    Motion (“Answering Brief’ or “Ans. Br.”) asserting that that the Prior Litigation Materials have

    “little relevance to the present litigation” and that disclosure of unredacted copies of the Prior

    Litigation Materials is prohibited under the terms of the protective orders in the Prior Actions.3

    (Ans. Br. at 1). On January 31,2022, the Special Master heard oral argument on the Motion. After

    considering the written submissions by the parties and oral argument from counsel, the Motion is

    ripe for adjudication and ruling by the Special Master. For the reasons set forth more fully below,

    the Motion is GRANTED.

    II.    BACKGROUND AND RELEVANT PROCEDURAL POSTURE

           Plaintiff initiated this action on July 17,2015, alleging that DISH infringed eight (8) of TQ

    Delta’s patents. (D.I. 1). Two patents remain at issue in the present action: U.S. Patent Ns.

    8,718,158 (“the ‘158 patent”) and 9,014,243 (“the ‘243 patent”).

           On February 5, 2016, DISH served upon TQ Delta its First Set of Requests for Production

    to Plaintiff (Nos. 1-138), which sought, among other things, the production of materials from TQ

    Delta’s prior litigations. (D.I. 48; Op. Br., Ex. C). On August 21, 2021, TQ Delta disclosed to

    DISH that Dr. Madisetti would serve as its expert in the present action.

           The parties subsequently met and conferred regarding DISH’s relevant discovery requests,

    and TQ Delta represented that there were no expert opinions on damages in those cases, or on

   technical topics by experts other than Dr. Madisetti. (Op. Br. at 1). Based upon this representation,

   DISH narrowed the relevant discovery requests to include only five categories of materials. (Id.)

   One of the five categories of materials was “prior expert reports, declarations, deposition



   3 “Prior Actions” refer to the prior TQ Delta litigations where in Dr. Madisetti served as an expert
   witness, including TQ Delta, LLC v. 2Wire, Inc., l:13-cv-01835-RGA (“2Wire Case”) and TQ
   Delta, LLC v. Adtran, Inc., 1:14-cv-00954-RGA (“ADTRAN Case”). At issue in the Prior Actions
   were six patents in the same patent family as the patents asserted in the present action, including
   U.S. Patent Nos. 7,292,627, 7,471,721, 8,073,041, 8,090,008, 8,218,610, and 8,355,427.

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    testimony, and any other materials from Dr. Madisetti from the [2Wire Case] and [ADTRAN

    Case].” (Op. Br., Ex. D at 2).

           To date, TQ Delta has not produced to DISH any of the Prior Litigation Materials. Rather,

    on January 6, 2022, TQ Delta provided to DISH a list of all Prior Litigation Materials identifying

    the Defendant, the title of the report or declaration, and the docket entry. (Ans. Br., Ex. D). This

    list included both sealed and publicly filed Prior Litigation Materials.

           DISH’s Motion requests the Court to require TQ Delta to produce unredacted Prior

    Litigation Materials. (D.I. 380). In support of the Motion, DISH asserts that Dr. Madisetti’s prior

    opinions are relevant to the present action because they pertain to “the scope and validity of claims

    bearing a remarkable resemblance to those asserted in this case” and specifically represents that

    Dr. Madisetti’s prior opinions relate to other “phase scrambling” patents like the patents at issue

    in this action. (Op. Br. at 2). DISH also asserts that TQ Delta’s production of the Prior Litigation

   Materials would not be unduly burdensome to TQ Delta because TQ Delta’s counsel have the

   documents available in its possession and because TQ Delta can designate the Prior Litigation

   Materials as “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY” in the present action

   to protect any non-party confidential information. (Id. at 3).

           In opposition to the Motion, TQ Delta contends that the protective orders4 in the Prior

   Actions prohibit the disclosure of unredacted copies of the Prior Litigation Materials because the

   Prior Litigation    Materials     contain information that has        been designated     “HIGHLY




   4 The applicable protective order in the 2Wire Case is attached to the Answering Brief at Exhibit
   A. The applicable protective order in the ADTRAN Case is attached to the Answering Brief as
   Exhibit B. The two protective orders in the Prior Actions are collectively referred to as the
   “Protective Orders.” Also, at play is a protective order governing the production of information
   by Broadcam Corporation (“Broadcam”) in the Prior Litigations (the “Broadcam Protective
   Order”). The Broacdcam Protective Order is attached to the Answering Brief as Exhibit C.

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    CONFIDENTIAL - ATTORNEYS’ EYES ONLY” and “HIGHLY CONFIDENTIAL

    SOURCE CODE” by other parties in the Prior Actions who are non-parties in this action. (Ans.

    Br. at 1). In other words, TQ Delta contends that it is prohibited from producing the Prior

    Litigation Materials to DISH because they contain confidential information of non-parties. (Id. at

    2). TQ Delta further contends that DISH ought to “deal directly with the non-parties to obtain

    permission to receive the non-parties’ confidential information” because that would be ‘“more

    convenient, less burdensome, [and] less expensive’ than requiring TQ Delta to insert itself in that

    process.” (Id.).

    III.    ANALYSIS

            A.     Legal Standard

            Pursuant to Rule 26 of the Federal Rule of Civil Procedure, “[p]arties may obtain discovery

    regarding any nonprivileged matter that is relevant to any party's claim or defense and proportional

    to the needs of the case, considering the importance of the issues at stake in the action, the amount

    in controversy, the parties’ relative access to relevant information, the parties’ resources, the

    importance of the discovery in resolving the issues, and whether the burden or expense of the

   proposed discovery outweighs its likely benefit. Information within this scope of discovery need

   not be admissible in evidence to be discoverable.” Fed. R. Civ. Pro. 26(b)(1).

           The Third Circuit “employs a liberal discovery standard,” Westchester Fire Ins. Co. v.

   HouseholdIntl’l, Inc., 167 F. Appx 895, 899 (3d Cir. 2006), and recognizes that “the federal rules

   allow broad and liberal discovery.” Pacetti by Pacetti v. Macy’s, 193 F.3d 766,777 (3d Cir. 1999).

   Similarly, the District of Delaware has ‘“construed liberally and with common sense’ the

   requirement of relevancy, rather than measure relevancy by the precise issues framed by the

   pleadings or limited by other concepts of narrow legalisms. Thus, discovery should ordinarily be



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   allowed under the concept of relevancy unless it is clear that the information sought can have no

   possible bearing on the subject matter of the action.” Rohm & Haas Co. v. Brotech Corp., 1990

   U.S. Dist. LEXIS 20117, at *12 (D. Del. Sept. 14, 1990); see also See Finjan, Inc. v. Rapid7, Inc.,

   2020 WL 5045186, at *2 (D. Del. Aug. 7, 2020) (“Relevance is liberally construed to “encompass

   any matter that bears on, or that reasonably could lead to other matter[s] that could bear on, any

   issue that is or may be in the case.” (citing Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351

   (1978)).

           “Although the scope of discovery under the Federal Rules is unquestionably broad, this

   right is not unlimited and may be circumscribed.” Bayer AG v. Betachem, Inc., 173 F.3d 188,191

   (3d Cir. 1999). Discovery may be limited if the court determines that: “(i) the discovery sought is

   unreasonably cumulative or duplicative, or can be obtained from some other source that is more

   convenient, less burdensome, or less expensive; (ii) the party seeking discovery has had ample

   opportunity to obtain the information by discovery in the action; or (iii) the proposed discovery is

   outside the scope permitted by Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(c).

           B.     TQ Delta is Ordered to Produce the Prior Litigation Materials to DISH in
                  Unredacted Form.

          To determine whether DISH is entitled to unredacted versions of the Prior Litigation

   Materials, the Court’s analysis begins with Rule 26(b)(1). First, the Court must determine whether

   the information requested concerns a nonprivileged matter that is relevant to any party's claim or

   defense. Here, the Special Master finds that the Prior Litigation Materials are relevant to the claims

   and defenses in the present action. Specifically, Dr. Madisetti’s prior opinions concern other

   “phase scrambling” patents in the same patent family as the ‘158 and ‘243 patents. See Op. Br.,

   Ex. A at 4. In fact, in the ADTRAN Case, Dr. Madisetti opined on the construction of the “phase

   characteristic” term. (Op. Br., Ex. K at 20-26). This term is similarly recited by the ‘158 patent


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    in the present action. Thus, based on the resemblance of the patents at issue in the present action

    and the patents at issue in the Prior Actions, the Special Master finds that the Prior Litigation

    Materials are relevant to the claims and defenses in this action.

           Having determined that the Prior Litigation Materials are relevant, the Special Master next

    evaluates whether the production of unredacted versions of the Prior Litigation Materials is

   proportional to the needs of the case considering (i) the importance of the issues at stake in the

   action, (ii) the amount in controversy, (iii) the parties’ relative access to relevant information, (iv)

   the parties’ resources, (v) the importance of the discovery in resolving the issues, and (vi) whether

   the burden or expense of the proposed discovery outweighs its likely benefit. Here, the parties’

   dispute centers around whether the production of unredacted versions of the Prior Litigation

   Materials amounts to an undue burden to TQ Delta.

           Again, TQ Delta argues that production of the unredacted versions of the Prior Litigation

   Materials is unduly burdensome because the Protective Orders prohibit the use and disclosure of

   documents or other materials to DISH for use in this action absent the non-parties’ consent. (Ans.

   Br. at 2-3). Indeed, the Protective Orders in the Prior Actions limit the use of documents or other

   discovery materials produced or exchanged in connection with the Prior Actions to use in each

   Prior Action respectively, absent written consent by the Designating Party5 or unless otherwise

   ordered by the Court. (Ans. Br., Ex. A at 1 (“Documents or other discovery materials produced

   or exchanged in connection with this Action may only be used in this Action . . . and may not be

   used for other actions absent the -written agreement of the producing party. ”) (emphasis added);



   5 The Protective Orders include the following definitions: (i) “Designating Party” is defined as “a
   Party or non-party that designates information or items that is produced in disclosures or in
   responses to discovery as “Confidential,” “Highly Confidential - Attorneys’ Eyes Only,” or
   “Highly Confidential - Source Code”; and (ii) “Receiving Party” is defined as “a Party that
   receives Discovery Material from a Producing Party.” (Ans. Br., Ex. A. at 3; Ex. B at 3-4).

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    Ex. B (same); see also Ans. Br., Ex. A at 4 (| 3 (“All documents, materials, items, testimony or

    information designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’

    EYES ONLY,” and “HIGHLY CONFIDENTIAL - SOURCE CODE,” . .. shall be governed by

    this Protective Order and shall be used only for the purposes of this Action and not for any other

    litigation . . . and shall not be disclosed to anyone except as provided in this Protective Order,

    absent a specific order by the Court.”); Ex. B at 5 Q 3 (same)); Ex. A at 12      7.1 (“A Receiving

    Party may use Protected Material that is disclosed or produced by another Party or by a non-party

    only in connection with this Action and not for any other litigation (including any other action

    brought by TQ Delta) . . . and shall not disclose Protected Material to anyone except as provided

    in this Order absent a specific order by the court.”)); Ex. B at 13 (| 7.1 (same)).

           In addition to allowing disclosure of designated confidential information when required by

    a court order, the Protective Orders in the Prior Actions include provisions expressly addressing a

   Designating Party’s rights in the event a Receiving Party is ordered to disclose information

   designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

   ONLY,” or “HIGHLY CONFIDENTIAL SOURCE CODE.” (Ans. Br., Ex. A at 23-24 fl[ 8); Ex.

   B. at 24-25 Q 8)). Specifically, the Protective Orders provide that if “an order issued in other

   litigation would compel disclosure” of such confidential information “the Receiving Party must so

   notify the Designating Party, in writing, promptly and in no event more than ten (10) court days

   after receiving the . .. order” and must include a copy of the order. (Ans. Br., Ex. A at 23; Ex. B

   at 24). The Protective Orders recognize that these provisions serve to “alert the interested parties

   to the existence of [the Protective Orders] and to afford the Designating Party in this Actipn an




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    opportunity to try to protect its confidentiality interests in the court from which the subpoena or

    order issued.” (Ans. Br., Ex. A at 23; Ans. Br., Ex. B at 25).6

            The Special Master has carefully considered the parties’ arguments and makes the

    following findings: based upon the provisions of the Protective Orders in the Prior Actions and

    the Broadcom Protective Order, the Special Master finds that, upon an order from this Court

    requiring TQ Delta to produce any non-party confidential information, TQ Delta need only satisfy

    the notice requirements set forth in the Protective Orders and the Broadcam Protective Order. See

    Ans. Br., Ex. A at 23, Ex. B at 24 and Ex. C at 16-17. Such notice requirements are not unduly

    burdensome for TQ Delta. Also, TQ Delta does not dispute that its counsel possesses copies of

    the Prior Litigation Materials in unredacted form and, thus, it is not unduly burdensome for TQ

    Delta to produce these Prior Litigation Materials to DISH if so ordered by this Court. In other

    words, the burden of TQ Delta producing the Prior Litigation Materials in unredacted form is not

    outweighed by its likely benefit.

           At the same time, the Special Master recognizes the importance of protecting non-parties’

    confidential information. The Special Master certainly wants to be sensitive to avoid doing any

    harm that may result to the non-parties by requiring the disclosure of non-party confidential

    information in this action. The Special Master is unaware of any manner in which the non-parties

    are adverse to DISH. To the contrary, by virtue of both the non-parties and DISH being adverse

   to TQ Delta in pending patent litigations, their interests appear to be somewhat aligned. Also, in



   6 The Broadcam Protective Order includes similar notice provisions to the extent a court order
   compels disclosure of “BROADCOM - OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE
   CODE.” Ex. C at 16-17. Further, the Protective Orders in the Prior Actions and the Broadcom
   Protetive Order state that “[t]he Designating Party shall bear the burdens and expenses of seeking
   protection in that court of its confidential material, and nothing in these provisions should be
   construed as authorizing or encouraging a Receiving Party in this action to disobey a lawful
   directive from another Court.” (Ans. Br., Ex. A at 24; Ex. B at 25; Ex. C at 16-17).

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    this action, the Court has entered a protective order allowing the parties to designate documents,

    testimony and information exchanged between the parties as “CONFIDENTIAL,” "HIGHLY

    CONFIDENTIAL - ATTORNEYS' EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE

    CODE.” (D.I. 72) Thus, any Prior Litigation Materials produced in this action may be designated

    as “HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY” or “HIGHLY CONFIDENTIAL

   - SOURCE CODE” to continue to protect the non-party confidential information in this action.

           In light of the above, the Special Master concludes that DISH is entitled to the Prior

   Litigation Materials given their relevance to the claims and defenses in this action, and that the

   burden of TQ Delta producing the Prior Litigation Materials in unredacted form is not outweighed

   by its likely benefit. Therefore, TQ Delta is ordered to produce the Prior Litigation Materials in

   unredacted form to DISH as follows: Specifically, the Special Master orders that within two (2)

   days of the date of this Order, TQ Delta shall satisfy all requisite notices requirements under the

   Protective Orders in the Prior Actions and the Broadcam Protective Order, which includes

   notifying all affected non-parties of this Order requiring the production of unredacted versions of

   the Prior Litigation Materials containing information designated as “CONFIDENTIAL,”

   “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “HIGHLY CONFIDENTIAL

   SOURCE CODE” or “BROADCOM - OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE

   CODE.” Thereafter, within ten (10) days of the date of this Order, TQ Delta shall produce all

   Prior Litigation Materials to DISH in unredacted form in this action as “HIGHLY

   CONFIDENTIAL - ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL - SOURCE

   CODE” pursuant to and subject to the terms of the protective order entered in this action. If, after

   receiving notice from TQ Delta, any non-party objects to the production of its confidential

   information to DISH in this action, it may move for a protective order before this Court on or



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    before February 10, 2022. In the event that a non-party files a motion for protective order with

    this Court on or before February 10, 2022 to prevent disclosure of its designated confidential

    information to DISH, the ten (10) day deadline for TQ Delta to produce all Prior Litigation

    Materials to DISH in unredacted form shall be stayed only with respect to Prior Litigation

    Materials containing the confidential information of the non-party or non-parties who have filed

    motion(s) for protective order with this Court and only until the Court is able to hear and determine

    the merits of such motion(s).7

              C.   DISH’s Request For Fees and Expenses Is Denied.

           DISH requests an award of fees and costs under Federal Rule of Civil Procedure

    37(a)(5)(A) and 28 U.S.C. § 1927 in connection with the Motion. (Op. Br. at 3). TQ Delta opposes

    this request. (Ans. Br. at 3). It is within this Court’s discretion to impose sanctions under Federal

    Rule of Civil Procedure 37. Newman v. GHS Osteopathic, Inc., 60 F.3d 153, 156 (3d Cir.1995)

    (internal quotation marks omitted); see also L.R. 1.3(a) (“Sanctions may be imposed, at the

    discretion of the Court, for violations of the Rules, as well as for violations of the Fed. R. Civ. P.

    and any order of the Court. Such sanctions may include, but are not limited to, costs, fines and

    attorneys’ fees imposed on the offending party and that party’s attorney.”). The Special Master,

    in his discretion, finds that both sides presented meritorious arguments on the Motion and,

    therefore, denies DISH’s request for an award of its fees and expenses in connection with the

    Motion.



   7 DISH further seeks the Court require TQ Delta to produce any future opinions or testimony
   provided by Dr. Madisetti or other experts in the Prior Actions that are relevant to “phase
   scrambling” patents. (Op. Br. at 2). If and when Dr. Madisetti or another expert in the Prior
   Actions renders any future opinions or testimony in the Prior Actions that are relevant to the “phase
   scrambling” patents in the Prior Actions, the same rationale will generally apply. However,
   without deciding such possible future disputes at this time, DISH can file another motion if and
   when the situation arises for the Special Master to evaluate and rule on the dispute in context.

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    IV.    CONCLUSION

           For the foregoing reasons, the Special Master GRANTS DISH’s Motion. Within two (2)

    days of the date of this Order, TQ Delta shall satisfy all requisite notices requirements under the

    Protective Orders in the Prior Actions and the Broadcam Protective Order, which includes

   providing notice to all affected non-parties of this Order requiring the production of unredacted

   versions    of   the   Prior    Litigation   Materials    containing   information     designated   as

    “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “HIGHLY

    CONFIDENTIAL SOURCE CODE” or “BROADCOM - OUTSIDE ATTORNEYS’ EYES

   ONLY - SOURCE CODE.” Thereafter, within ten (10) days of the date of this Order, TQ Delta

   shall produce all Prior Litigation Materials to DISH in unredacted form in this action as “HIGHLY

   CONFIDENTIAL - ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL - SOURCE

   CODE” pursuant to and subject to the terms of the protective order entered in this action. If, after

   receiving notice from TQ Delta, any non-party objects to the production of its confidential

   information to DISH in this action, it may move for a protective order before this Court on or

   before February 10, 2022. In the event that a non-party files a motion for protective order with

   this Court on or before February 10, 2022 to prevent disclosure of its designated confidential

   information to DISH, the ten (10) day deadline for TQ Delta to produce all Prior Litigation

   Materials to DISH in unredacted form shall be stayed only with respect to Prior Litigation

   Materials containing the confidential information of the non-party or non-parties who have filed

   motion(s) for protective order with this Court and only until the Court is able to hear and determine

   the merits of such motion(s).

           ENTERED this 1st day of February, 2022.


                                                            Gregory B. Williams (#4195)
                                                            Special Master

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    SO ORDERED this        day of, 2022.




                                       UNITED STATES DISTRICT COURT JUDGE




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                             EXHIBIT 5
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                             EXHIBIT 6
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                             EXHIBIT 7
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                             EXHIBIT 8
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 38 of 146 PageID #: 7125




    From: Glasser, Lisa <lglasser@irell.com>
    Sent: Thursday, May 11, 2023 9:04 PM
    To: Armon, Orion <oarmon@cooley.com>
    Cc: Teng, Austin C. <austin.teng@kirkland.com>; Heffernan, Jeannie <jheffernan@kirkland.com>; Li, Kat
    <kat.li@kirkland.com>; Bova, Justin <justin.bova@kirkland.com>; z/Sight Sciences Ivantis
    <zSightSciencesIvantis@cooley.com>
    Subject: Re: SSIv Sight Sciences v Ivantis - Production of unredacted copies of deposition transcripts and
    expert reports from Glaukos v. Ivantis case

    [External]

    Counsel,

    As noted previously, Glaukos is a third party and also has obligations under the protective order
    from its litigation with Ivantis. Many documents marked confidential in that case had a mix of
    confidential material from both sides and/or third parties. Until Sight Sciences and Ivantis agree
    on a scope of production, and Ivantis provides authorization for Glaukos to review specific
    documents to determine whether Glaukos information is contained therein, it is premature to
    involve us. Let us know when the parties have worked out their issues.

    Best,
    Lisa

    On May 11, 2023, at 12:53 PM, Armon, Orion <oarmon@cooley.com> wrote:


    Hi Lisa,

    Counsel for Ivantis said that you had requested that we narrow and prioritize the list of
    documents we’re requesting. In a good faith effort to move things along, please see below a
    narrowed list of Glaukos litigation materials relevant to the Sight Sciences case. To the extent
    that these documents contain Glaukos confidential information, please advise whether Glaukos
    consents to production of these documents in the Sight/Ivantis litigation as “Highly Confidential
    – Attorneys’ Eyes Only” (with no in-house attorney access) for preliminary review. To the extent
    redactions become necessary (e.g., for documents that would be used at trial or in a hearing open
    to the public) we would work with you on redactions, or seek your permission before citing any
    Glaukos confidential portions. Please also confirm (1) which of the below materials have been
    designated as containing Glaukos confidential information, and (2) whether you will provide Dr.
    Brown and Dr. Lynch full unredacted copies of their respective deposition transcripts and any
    errata if they so request.


    * Deposition transcript of Reay Brown
    * Deposition transcript of Mary Lynch
    * Ivantis’s responses to any interrogatories or RFAs propounded by Glaukos relating to non-
    infringement, invalidity, and development of the Hydrus
    * Unredacted briefs and appendices filed in In re Ivantis, Inc., C.A. No. 20-147 (Fed. Cir.)
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    * Kenneth Galt: 9/13/2019 Deposition Transcript
    * Andrew Iwach: 2/12/2020 Deposition Transcript
    * Mohan Rao: 2/6/2020 Deposition Transcript
    * Douglas Rhee: Expert Report; Deposition Transcript
    * Angelo Tanna: 2/7/2020 Deposition Transcript
    * Harold Walbrink: Expert Report; 1/24/2020 Deposition Transcript

    Thanks,
    Orion

    Orion Armon
    Cooley LLP
    1144 15th Street, Suite 2300
    Denver, CO 80202-2686
    720 566 4119 office
    303 949 0925 mobile
    oarmon@cooley.com<mailto:oarmon@cooley.com>



    From: Glasser, Lisa <lglasser@irell.com>
    Sent: Tuesday, May 2, 2023 7:03 AM
    To: Teng, Austin C. <austin.teng@kirkland.com>; Armon, Orion <oarmon@cooley.com>
    Cc: Heffernan, Jeannie <jheffernan@kirkland.com>; Li, Kat <kat.li@kirkland.com>; Bova,
    Justin <justin.bova@kirkland.com>; z/Sight Sciences Ivantis
    <zSightSciencesIvantis@cooley.com>
    Subject: RE: SSIv Sight Sciences v Ivantis - Production of unredacted copies of deposition
    transcripts and expert reports from Glaukos v. Ivantis case

    [External]
    ________________________________
    8:30 this morning would work for me.

    From: Teng, Austin C. <austin.teng@kirkland.com<mailto:austin.teng@kirkland.com>>
    Sent: Monday, May 1, 2023 1:17 PM
    To: Glasser, Lisa <lglasser@irell.com<mailto:lglasser@irell.com>>; Armon, Orion
    <oarmon@cooley.com<mailto:oarmon@cooley.com>>
    Cc: Heffernan, Jeannie <jheffernan@kirkland.com<mailto:jheffernan@kirkland.com>>; Li, Kat
    <kat.li@kirkland.com<mailto:kat.li@kirkland.com>>; Bova, Justin
    <justin.bova@kirkland.com<mailto:justin.bova@kirkland.com>>; z/Sight Sciences Ivantis
    <zSightSciencesIvantis@cooley.com<mailto:zSightSciencesIvantis@cooley.com>>
    Subject: RE: SSIv Sight Sciences v Ivantis - Production of unredacted copies of deposition
    transcripts and expert reports from Glaukos v. Ivantis case

    Lisa,
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 40 of 146 PageID #: 7127




    I have availability tomorrow between 8:30-10:30 am or 1-2 pm PT. Let me know what works
    with your schedule.

    Austin Teng
    -----------------------------------------------------
    KIRKLAND & ELLIS LLP
    401 Congress Avenue, Austin, TX 78701
    T +1 512 355 4351 M +1 214 444 8364
    F +1 512 678 9101
    -----------------------------------------------------
    austin.teng@kirkland.com<mailto:austin.teng@kirkland.com>

    From: Glasser, Lisa <lglasser@irell.com<mailto:lglasser@irell.com>>
    Sent: Monday, May 1, 2023 11:02 AM
    To: Armon, Orion <oarmon@cooley.com<mailto:oarmon@cooley.com>>; Teng, Austin C.
    <austin.teng@kirkland.com<mailto:austin.teng@kirkland.com>>
    Cc: Heffernan, Jeannie <jheffernan@kirkland.com<mailto:jheffernan@kirkland.com>>; Li, Kat
    <kat.li@kirkland.com<mailto:kat.li@kirkland.com>>; Bova, Justin
    <justin.bova@kirkland.com<mailto:justin.bova@kirkland.com>>; z/Sight Sciences Ivantis
    <zSightSciencesIvantis@cooley.com<mailto:zSightSciencesIvantis@cooley.com>>
    Subject: RE: SSIv Sight Sciences v Ivantis - Production of unredacted copies of deposition
    transcripts and expert reports from Glaukos v. Ivantis case

    Austin, Can you connect with me sometime this week to discuss? To the extent these contain
    confidential materials of Glaukos, the Ivantis-Glaukos PO bars Ivantis from possessing copies of
    them after the conclusion of the litigation. The reverse

    Austin,

    Can you connect with me sometime this week to discuss? To the extent these contain
    confidential materials of Glaukos, the Ivantis-Glaukos PO bars Ivantis from possessing copies of
    them after the conclusion of the litigation. The reverse is also true for confidential materials of
    Ivantis.

    That does not necessarily mean that no production could be made (and if I recall correctly, some
    of the below were not confidential), but I want to make sure that Ivantis is complying with the
    PO, and also that we can address the request below without any issues under the PO.

    Lisa

    From: Armon, Orion <oarmon@cooley.com<mailto:oarmon@cooley.com>>
    Sent: Friday, April 28, 2023 6:30 PM
    To: Teng, Austin C. <austin.teng@kirkland.com<mailto:austin.teng@kirkland.com>>; Glasser,
    Lisa <lglasser@irell.com<mailto:lglasser@irell.com>>
    Cc: Heffernan, Jeannie <jheffernan@kirkland.com<mailto:jheffernan@kirkland.com>>; Li, Kat
    <kat.li@kirkland.com<mailto:kat.li@kirkland.com>>; Bova, Justin
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 41 of 146 PageID #: 7128




    <justin.bova@kirkland.com<mailto:justin.bova@kirkland.com>>; z/Sight Sciences Ivantis
    <zSightSciencesIvantis@cooley.com<mailto:zSightSciencesIvantis@cooley.com>>
    Subject: RE: SSIv Sight Sciences v Ivantis - Production of unredacted copies of deposition
    transcripts and expert reports from Glaukos v. Ivantis case

    Austin - Thank you for copying me on your email.
    Lisa – I represent Sight Sciences. We understand that Glaukos agreed that the Glaukos/Ivantis
    and Transcend settlement and license agreements could be produced pursuant to the Protective
    Order entered in our litigation as HC-AEO information that is not accessible by any in-house
    counsel.

    I would appreciate it if you would let me know if any of the following documents contain
    Glaukos confidential information, and if so, whether Glaukos would consent to their production
    with the same protections afforded to the Glaukos/Ivantis and Transcend license agreements.

    Please note that we believe that our requests cover the additional documents highlighted here:

    * Todd Abraham: Expert Report; 9/19/2019 Deposition Transcript
    * Gary Condon: Expert Report; Deposition Transcript
    * Kenneth Galt: 9/13/2019 Deposition Transcript
    * Andrew Iwach: 2/12/2020 Deposition Transcript
    * Jason Jones: Expert Report; Deposition Transcript (to the extent it exists)
    * Daniel LaRoche: Expert Report; Deposition Transcript (to the extent it exists)
    * Mohan Rao: 2/6/2020 Deposition Transcript
    * Douglas Rhee: Expert Report; Deposition Transcript
    * Andrew Schieber: Expert Report; 1/23/2020 Deposition Transcript
    * Angelo Tanna: Expert report; 2/7/2020 Deposition Transcript
    * Harold Walbrink: Expert Report; 1/24/2020 Deposition Transcript
    * Jeff Whitman: Expert Report; Deposition Transcript (to the extent it exists)

    Sincerely,
    Orion
    Orion Armon
    Cooley LLP
    1144 15th Street, Suite 2300
    Denver, CO 80202-2686
    720 566 4119 office
    303 949 0925 mobile
    oarmon@cooley.com<mailto:oarmon@cooley.com>

    From: Teng, Austin C. <austin.teng@kirkland.com<mailto:austin.teng@kirkland.com>>
    Sent: Friday, April 28, 2023 4:29 PM
    To: Glasser, Lisa <lglasser@irell.com<mailto:lglasser@irell.com>>
    Cc: Armon, Orion <oarmon@cooley.com<mailto:oarmon@cooley.com>>; Heffernan, Jeannie
    <jheffernan@kirkland.com<mailto:jheffernan@kirkland.com>>; Li, Kat
    <kat.li@kirkland.com<mailto:kat.li@kirkland.com>>; Bova, Justin
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 42 of 146 PageID #: 7129




    <justin.bova@kirkland.com<mailto:justin.bova@kirkland.com>>
    Subject: SSIv Sight Sciences v Ivantis - Production of unredacted copies of deposition transcripts
    and expert reports from Glaukos v. Ivantis case

    [External]
    ________________________________
    Lisa,

    Sight Sciences (outside counsel copied here) has requested that Ivantis produce unredacted
    copies of the following deposition transcripts and reports from the Glaukos v. Ivantis case.


    * Todd Abraham: Expert Report; 9/19/2019 Deposition Transcript
    * Gary Condon: Expert Report; Deposition Transcript
    * Kenneth Galt: 9/13/2019 Deposition Transcript
    * Andrew Iwach: 2/12/2020 Deposition Transcript
    * Jason Jones: Expert Report
    * Daniel LaRoche: Expert Report
    * Mohan Rao: 2/6/2020 Deposition Transcript
    * Douglas Rhee: Expert Report; Deposition Transcript
    * Andrew Schieber: Expert Report; 1/23/2020 Deposition Transcript
    * Angelo Tanna: 2/7/2020 Deposition Transcript
    * Harold Walbrink: Expert Report; 1/24/2020 Deposition Transcript
    * Jeff Whitman: Expert Report

    Does Glaukos object to the production of these materials?

    Austin Teng
    -----------------------------------------------------
    KIRKLAND & ELLIS LLP
    401 Congress Avenue, Austin, TX 78701
    T +1 512 355 4351 M +1 214 444 8364
    F +1 512 678 9101
    -----------------------------------------------------
    austin.teng@kirkland.com<mailto:austin.teng@kirkland.com>




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                            EXHIBIT 9




                              (Excerpted)
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    1                         UNITED STATES DISTRICT COURT

    2                      CENTRAL DISTRICT OF CALIFORNIA

    3                               SOUTHERN DIVISION

    4

    5          GLAUKOS CORPORATION, a                   Case No.

    6          Delaware corporation,                    8:18-cv-00620-JVS-JDE

    7                          Plaintiff,

    8                VS.

    9          IVANTIS, INC., a Delaware                Pages 1-277

   10          corporation,

   11                          Defendant

   12

   13

   14           ATTORNEYS' EYES ONLY - PURSUANT TO PROTECTIVE ORDER

   15

   16                 VIDEOTAPED DEPOSITION OF DAVID VAN METER

   17                         THURSDAY, SEPTEMBER 26, 2019

   18                                      9:01 A.M.

   19

   20

   21     Reported by:

   22     LINDA NICKERSON

   23     CSR No. 8746

   24     Job No. 3507323

   25     Pages 1-277


                                                                      Page 1

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                                                                       IVANTIS-SS-00172370
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 46 of 146 PageID #: 7133


    1                Videotaped deposition of DAVID VAN METER, the

    2          witness, taken on behalf of the Plaintiff, on

    3          THURSDAY, SEPTEMBER 26, 2019, 9:01 a.m., at 660

    4          Newport Center Drive, Sixteenth Floor, Newport

    5          Beach, California, before LINDA NICKERSON, CSR No.

    6          8746, pursuant to NOTICE.

    7

    8          APPEARANCES OF COUNSEL:

    9          FOR PLAINTIFF:

   10                IRELL & MANELLA, LLP

   11                BY:    LISA GLASSER, ESQ.

   12                       JONATHON MADDERN, ESQ.

   13                840 Newport Center Drive

   14                Suite 400

   15                Newport Beach, California                92660

   16                (949) 760-0991

   17                lglasser@irell.com

   18                jmaddern@irell.com

   19          FOR DEFENDANT:

   20                KEKER, VAN NEST & PETERS, LLP

   21                BY:    DAVID J. SILBERT, ESQ.

   22                633 Battery Street

   23                San Francisco, California                94111

   24                (415) 391-5400

   25                dsilbert@keker.com


                                                                      Page 2

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                                                                       IVANTIS SS 00172371
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 47 of 146 PageID #: 7134


    1           APPEARANCES        (Continued) :

    2

    3           ALSO    PRESENT:

    4                   KIMBERLEE       DECKER        (Videographer)

    5                   DAVID    SHAW

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                                                                      IVANTIS SS 00172372
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    1                                     INDEX

    2

    3          WITNESS                    EXAMINATION                     PAGE

    4          DAVID VAN METER

    5

    6                                     By Ms. Glasser            12, 272

    7                                     By Mr. Silbert                  269

    8

    9                                 EXHIBITS

   10          NUMBER         PAGE           DESCRIPTION

   11          Exhibit 200     75             E-mail dated 4-11-09 from

   12                                        Reay Brown

   13                                         (LB00004355)

   14          Exhibit 201     84             E-mail chain ending on

   15                                        11-15-16 from Ken Galt

   16                                         (IVNTS 00059497-

   17                                        IVNTS 00059498)

   18          Exhibit 202     88             E-mail chain ending on

   19                                        4-14-18 from Michael

   20                                        Robinson

   21                                         (IVNTS 00060321-

   22                                        IVNTS 00060322)

   23

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                                                                        IVANTIS SS 00172373
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 49 of 146 PageID #: 7136


    1                         E X H I B I T S (Continued)

    2          NUMBER           PAGE           DESCRIPTION

    3          Exhibit 203       96            E-mail chain ending on

    4                                          7-5-17 from Michael

    5                                          Robinson

    6                                          (IVNTS 00058386-

    7                                          IVNTS 00058388)

    8          Exhibit 204      120            Flash Drive

    9          Exhibit 205      138            Flash Drive

   10          Exhibit 206      138            Vimeo Website

   11          Exhibit 207      142            E-mail chain ending on

   12                                          7-10-17 from David Van Meter

   13                                          (IVNTS 00070089-

   14                                          IVNTS 00070093)

   15          Exhibit 208      145            E-mail chain ending on

   16                                          1-22-18 from David Van Meter

   17                                          (IVNTS 00221511-

   18                                          IVNTS 00221512)

   19          Exhibit 209      156            E-mail chain ending on

   20                                          11-30-17 from Jim Mazzo

   21                                          (IVNTS 00056284-

   22                                          IVNTS 00056285)

   23          Exhibit 210      160            E-mail dated 11-30-17 from

   24                                          David Van Meter

   25                                          (IVNTS 00056302)


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                                                                      IVANTIS SS 00172374
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    1                        E X H I B I T S (Continued)

    2          NUMBER         PAGE           DESCRIPTION

    3          Exhibit 211    163             E-mail chain ending on

    4                                         2-17-17 from Todd Abraham

    5                                         (IVNTS 00063938-

    6                                        IVNTS 00063939)

    7          Exhibit 212    165             E-mail chain ending on

    8                                        4-12-17 from Todd Abraham

    9                                         (IVNTS 00071032-

   10                                        IVNTS 00071038)

   11          Exhibit 213    169             E-mail chain ending on

   12                                        8-7-17 from David Van Meter

   13                                         (IVNTS 00102921-

   14                                        IVNTS 00102923)

   15          Exhibit 214    173             E-mail chain ending on

   16                                        8-18-17 from David Van Meter

   17                                         (IVNTS 00069933-

   18                                        IVNTS 00069934)

   19          Exhibit 215    175             E-mail chain ending on

   20                                        11-3-17 from Michael Chodzko

   21                                         (IVNTS 00092946)

   22          Exhibit 216    186             E-mail chain ending on

   23                                        12-26-17 from David Van Meter

   24                                         (IVNTS 00107608-

   25                                        IVNTS 00107617)


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                                                                        IVANTIS SS 00172375
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    1                         E X H I B I T S (Continued)

    2          NUMBER           PAGE           DESCRIPTION

    3          Exhibit 217      189            E-mail chain ending on

    4                                          4-14-18 from dvanmeter

    5                                          (IVNTS 00055669-

    6                                          IVNTS 00055670)

    7          Exhibit 218      195            E-mail chain ending on

    8                                          4-16-18 from dvanmeter

    9                                          (IVNTS 00055663-

   10                                          IVNTS 00055665)

   11          Exhibit 219      200            E-mail chain ending on

   12                                          5-14-18 from David Van Meter

   13                                          (IVNTS 00184924-

   14                                          IVNTS 00184925)

   15          Exhibit 220      202            E-mail chain ending on

   16                                          5-20-18 from Glen Burgess

   17                                          (IVNTS 00064431-

   18                                          IVNTS 00064432)

   19          Exhibit 221      208            Commercial Roll Out

   20                                          (IVNTS 00064355-

   21                                          IVNTS 00064366)

   22          Exhibit 222      212            Ivantis BOD Meeting, June 7,

   23                                          2018

   24                                          (IVNTS 00034053-

   25                                          IVNTS 00034187)


                                                                    Page 7

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    1                        E X H I B I T S (Continued)

    2          NUMBER         PAGE           DESCRIPTION

    3          Exhibit 223    220             E-mail dated 6-26-18 from

    4                                        Todd Abraham

    5                                         (IVNTS 00060047-

    6                                        IVNTS 00060057)

    7          Exhibit 224    222             South Bank Day Hospital

    8                                         Surgeons

    9          Exhibit 225    228             E-mail dated 8-1-18 from

   10                                        David Van Meter

   11                                         (IVNTS 00074282)

   12          Exhibit 226    238             E-mail chain ending on

   13                                         2-14-17 from Brandon Lorry

   14                                         (IVNTS 00071466-

   15                                        IVNTS 00071467)

   16          Exhibit 227    245             E-mail chain ending on

   17                                        6-6-17 from David Van Meter

   18                                         (IVNTS 00070434-

   19                                        IVNTS 00070435)

   20          Exhibit 228    253             E-mail chain ending on

   21                                        11-14-17 from David Van Meter

   22                                         (IVNTS 00056561-

   23                                        IVNTS 00056562)

   24

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                                                                        IVANTIS SS 00172377
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    1                           E X H I B I T S (Continued)

    2          NUMBER             PAGE             DESCRIPTION

    3          Exhibit 229        265              E-mail chain ending on

    4                                              11-27-17 from Dave Van

    5                                              Meter

    6                                              (IVNTS 00068409)

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                                                                      IVANTIS SS 00172378
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     1                       NEWPORT BEACH, CALIFORNIA


     2               THURSDAY, SEPTEMBER 26, 2019; 9:01 A.M.


     3


     4                  THE VIDEOGRAPHER:   Good morning.               09:01:56


     S                  We are going on the record at 9:01 a.m. on      09:01:57


     6        September the 26th of 2019.                               09:02:02


     7                  Please note that the microphones are            09:02:04


     8        sensitive and may pick up whispering, private             09:02:05


     9        conversation, and cellular interference.         Please   09:02:08


    10        turn off all cell phones or place them away from the      09:02:11


    11        microphones as they can interfere with the                09:02:14


    12        deposition audio.                                         09:02:16

    13                  Audio and video recording will continue to      09:02:17


    14        take place unless all parties agree to go off the         09:02:19


    15        record.                                                   09:02:22


    16                  This is Media Unit One of the                   09:02:22


    17        video-recorded deposition of Dave Van Meter taken by      09:02:25


    18        counsel for the plaintiff in the matter of Glaukos        09:02:29


    19        versus Ivantis, Inc., filed in the U.S. District          09:02:31


    20        Court, Central District of California.                    09:02:35


    21                  This deposition is being held at Stradling      09:02:37


    22        Yocca, located at 660 Newport Center Drive, Suite         09:02:40


    23        1600, Newport Beach, California.                          09:02:46


    24                  My name is Kimberlee Decker from the firm       09:02:50


    25        Veritext Legal Solutions, and I'm the videographer.       09:02:53


                                                                        Page 10


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                                                                         IVANTIS SS 00172379
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     1        The court reporter is Linda Nickerson from the             09:02:55


     2        Veritext Legal Solutions.                                  09:02:58


     3                  I'm not related to any party in this action      09:03:00


     4        nor am I financially interested in the outcome.            09:03:03


     S                  Counsel and all present in the room will         09:03:05


     6        now state their appearances and affiliations for the       09:03:07


     7        record.   If there's any objection to proceeding,          09:03:10


     8        please state it at the time of your appearance,            09:03:13


     9        beginning with the noticing attorney.                      09:03:15


    10                  MS. GLASSER:     Lisa Glasser with Irell &       09:03:16


    11        Manella on behalf of Glaukos.                              09:03:18


    12                  MR. SILBERT:     David Silbert, Keker, Van       09:03:20


    13        Nest & Peters on behalf of Ivantis.                        09:03:22


    14                  MR. SHAW:   David Shaw for Ivantis.              09:03:24


    15                  THE WITNESS:     David Van Meter, president      09:03:26


    16        and CEO of Ivantis.                                        09:03:27


    17                  THE VIDEOGRAPHER:      Will the court reporter   09:03:30


    18        please swear in the witness.                               09:03:31


    19


    20                          DAVID VAN METER,


    21                   having been first duly sworn, was


    22                  examined and testified as follows:


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                                                                         Page 11


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                                                                          IVANTIS SS 00172380
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 56 of 146 PageID #: 7143


     1                              EXAMINATION


     2        BY MS. GLASSER:


     3            Q    Would you please state your name again for   09:03:41


     4        the record.


     S            A    David Van Meter.                             09:03:43


     6            Q    And you are the president and CEO of         09:03:44


     7        Ivantis, correct?                                     09:03:46


     8            A    Yes.                                         09:03:47


     9            Q    You are also a member of the board of        09:03:48


    10        directors; is that right?                             09:03:49

    11            A    Yes.                                         09:03:50


    12            Q    And have you ever been deposed before?       09:03:51


    13            A    I have been deposed once before.             09:03:55


    14            Q    In what matter was that?                     09:03:56


    15            A    In regard to an employment matter roughly    09:03:58


    16        eight or nine years ago.                              09:04:04


    17            Q    Was that at Ivantis?                         09:04:05


    18            A    Yes.                                         09:04:06


    19            Q    And did you have the opportunity to meet     09:04:06

    20        with your counsel before today to understand the      09:04:09


    21        deposition process?                                   09:04:12


    22            A    To some extent, I met to understand the      09:04:13


    23        deposition process, but as far as rules and           09:04:18


    24        procedures relating to the deposition, I'm -- it's    09:04:21


    25        been a long time.     So I'm not -- I'm not sure of   09:04:24


                                                                     Page 12


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                                                                      IVANTIS SS 00172381
                    Plaintiff Sight
Case 1:21-cv-01317-GBW-SRF          Sciences,
                               Document    210Inc.Filed
                                                   Objects to Defendants’
                                                        06/20/23  Page 57Redactions
                                                                          of 146 PageID #: 7144


     1          those.                                                       09:04:27


     2              Q     Okay.    Are you aware that you need to            09:04:27


     3          answer questions fully and to the best of your               09:04:29

     4          ability under oath?                                          09:04:31


     S              A     Absolutely.                                        09:04:32


     6              Q     If you do have any questions, feel free to         09:04:33


     7          let me know.      Otherwise, I'll assume that you            09:04:36


     8          understood the questions as they were phrased.               09:04:39


     9              A     Okay.                                              09:04:41


    10              Q     Were you personally aware of the '858              09:04:42


    11          patent before Glaukos filed this case?                       09:04:46


    12              A     Yes, I was.                                        09:04:48

    13              Q     And how long had you been aware?                   09:04:50


    14              A     So I was aware of the '858 patent probably         09:04:53


    15          roughly around the time of the second to -- second           09:05:04


    16          quarter to middle of 2008.                                   09:05:10


    17              Q     How did you become aware?                          09:05:13


    18              A     So I hired a vice president of research,           09:05:15


    19          Ken Galt, and in Ken's responsibilities, he handled          09:05:20


    20          our product development and he was also responsible          09:05:25


    21          for our intellectual property portfolio.                     09:05:27


    22              Q     And Ken Galt in his capacity as vice               09:05:30


    23          president of research and development brought the            09:05:34


    24          '858 patent to your attention; is that correct?              09:05:36

    25


                                                                              Page 13


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                                                                               IVANTIS SS 00172382
                     Plaintiff Sight
Case 1:21-cv-01317-GBW-SRF           Sciences,
                                Document   210Inc.Filed
                                                    Objects to Defendants’
                                                        06/20/23   Page 58Redactions
                                                                           of 146 PageID #: 7145


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                                                                                IVANTIS SS 00172383
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 59 of 146 PageID #: 7146


     1            A      Well, I can't remember any investor ever         10:41:58

     2        not asking us about the intellectual property               10:42:05

     3        landscape as well as our own patents and how we felt        10:42:07

     4        about our freedom to operate.                               10:42:11

     S                   That's -- that's a standard thing that any       10:42:13

     6        investor would want to learn about.        Very rarely is   10:42:14

     7        it worded this specifically around Glaukos.                 10:42:20

     8            Q      So the question was:    Can you recall any       10:42:22

     9        major investor or potential investor who didn't ask         10:42:26

    10        you any questions about the Glaukos patents?                10:42:29

    11            A      Yes.                                             10:42:31

    12            Q      Who?                                             10:42:36

    13            A      It doesn't jump out to me who they are, but      10:42:37

    14        the typical venue by which this happens is we get a         10:42:42

    15        meeting.   You get an hour.    You present the business     10:42:45

    16        case.   You lay out everything to make your argument        10:42:49

    17        about why they should invest in your company and why        10:42:54

    18        it's a great opportunity to help patients.                  10:42:56

    19                   And then at the end, they'll say, well,          10:42:58

    20        we'd like to learn more about freedom to operate.           10:43:04

    21        And then that's when I say, okay, that's what we            10:43:07

    22        have Ken Galt for, we can arrange a follow-up call.         10:43:10

    23            Q      Well, that's a good clarification.      I        10:43:12

    24        didn't mean to include folks that you just had the          10:43:13

    25        one-hour meet and greet with.                               10:43:16


                                                                          Page 86

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                                                                           IVANTIS SS 00172455
                     Plaintiff Sight
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                                Document   210Inc.Filed
                                                   Objects to Defendants’
                                                        06/20/23  Page 60Redactions
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     1                      In terms of major investors and potential        10:43:18

     2          investors that proceeded to the due diligence phase,         10:43:21


     3          can you think of anyone who didn't ask questions             10:43:24


     4          about the Glaukos patents?                                   10:43:26


     S              A       Well, I mean, some of this may be                10:43:35


     6          wordsmithing, but they don't ask us directly about           10:43:37


     7          the Glaukos patents.        They ask us for an overview of   10:43:41


     8          the patent landscape, and that's where Ken gives             10:43:44


     9          them overview of our freedom to operate.                     10:43:48


    10


    11


    12


    13                                                                       10:44:01


    14              Q     So I want to ask you specifically about            10:44:02


    15          Glaukos, though.                                             10:44:06


    16              A     Sure.                                              10:44:06

    17              Q     Do you recall any -- can you think of              10:44:07


    18          any -- as you sit here now, any major investor or            10:44:10


    19          potential investor where you got to the due                  10:44:14


    20          diligence phase and they didn't have any questions           10:44:16


    21          for you specifically about Glaukos patents?                  10:44:18

    22                      MR. SILBERT:     Objection; asked and            10:44:21


    23          answered.                                                    10:44:25


    24                      THE WITNESS:     I mean, I've presented to 200   10:44:25


    25          investors at least.        I can't, as I sit here, call      10:44:27


                                                                              Page 87


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                                                800-826-0277



                                                                               IVANTIS SS 00172456
                    Plaintiff Sight
Case 1:21-cv-01317-GBW-SRF          Sciences,210
                                Document      Inc. Filed
                                                   Objects to Defendants’
                                                         06/20/23  Page 61Redactions
                                                                            of 146 PageID #: 7148


     1          out by name anyone who didn't, but I know that all             10:44:32


     2          of them did not ask me specifically about Glaukos              10:44:34


     3          patents.                                                       10:44:37


     4          BY MS. GLASSER:                                                10:44:37


     S               Q     In terms of the ones who got to the due             10:44:37


     6          diligence phase, can you think of any who didn't ask           10:44:40


     7          you about the Glaukos patents?                                 10:44:43


     8               A     Well, due diligence is kind of a -- it's            10:44:45


     9          a -- it's sort of a -- a loose term.           There are       10:44:46


    10          investors who hear a presentation, have a follow-on            10:44:49

    11          call, and that's their due diligence.                          10:44:55


    12                     There are others that will spend three,             10:44:57


    13          four weeks diving through documents.


    14


    15


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    19

    20                                                                         10:45:22


    21                     MS. GLASSER:     Marking as Exhibit 202 IVNTS       10:45:35


    22          60321.                                                         10:45:42


    23                     (The document referred to was marked by the


    24          Reporter as Deposition Exhibit 202 for


    25          identification and is attached hereto.)


                                                                                Page 88


                                          Veritext Legal Solutions
                                               800-826-0277



                                                                                 IVANTIS SS 00172457
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 62 of 146 PageID #: 7149


     1        his actual read-world data for the two products and             04:17:31


     2        compare them?                                                   04:17:36


     3                    MR. SILBERT:     Objection; asked and               04:17:36

     4        answered.                                                       04:17:37


     S                    THE WITNESS:     I don't know Dr. Clement           04:17:37


     6        personally.     So I can't answer the question.                 04:17:39


     7                    MS. GLASSER:     Okay.    Thank you very much.      04:17:41


     8                    THE VIDEOGRAPHER:        We are off the record at   04:17:44


     9        4:17 p.m., and this concludes today's testimony                 04:17:48


    10        given by Dave Van Meter.         The total number of media      04:17:51


    11        used was eight and will be retained by Veritext                 04:17:54


    12        Legal Solutions.                                                04:17:56

    13                (Whereupon, at the hour of 4:17 p.m.,


    14                the deposition was concluded.)


    15


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    23


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                                                                              Page 275


                                         Veritext Legal Solutions
                                              800-826-0277



                                                                                IVANTIS SS 00172644
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 63 of 146 PageID #: 7150


    1          STATE OF CALIFORNIA

    2                                                ss

    3          COUNTY OF ORANGE

    4

    5                     I, DAVID VAN METER, declare under the

    6          penalties of perjury of the laws of the United

    7          States that the foregoing is true and correct.

    8                     Executed this                   day of

    9          2019, at                                       , California.

   10

   11

   12

   13

   14                            DAVID VAN METER

   15

   16

   17

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                                                                    Page 276

                                   Veritext Legal Solutions
                                        800-826-0277



                                                                       IVANTIS SS 00172645
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 64 of 146 PageID #: 7151


    1          STATE OF CAL I FORNIA                )

    2                                                     es

    3          COUNTY OF ORANGE                     )

    4                     I,    LINDA NICKERSON, CSR #6746,                    in and for

    S          the State       of California             do hereby certify:

    6                     That, prior          to being examined, the witness

    7          named in the         foregoing           deposition      was by me duly

     a         sworn to    testify         the truth,           the whole truth,       and

    9          nothing    but the         truth;

   10                     That said         deposition          was taken down by me in

   11.         shorthand       at   the    time and place            therein   named, and

   12          thereafter reduced to typewritten form at                          my

   13         direction, and the same is a true, correct, and

   L4          complete transcript             of the          testimony    at said

   15          proceedings.

   16                     Before completion of the deposition, review

   1.7        of transcript.              ] was [X.] was not requested.                If

   7.S        requested, any changes made by the deponent (and

   19          provided    t.o the        reporter)        during       the period   allowed

   20          are appended hereto.

   21.                    I further certify that I am not interested

   22          in the event of the action.

               WITNESS MY HAND this                13th day of October,           2€31.9.

   24



   25                          LINDA NICKERSON, CSR No.. 8746


                                                                                     Page 277

                                            eritext. Legal Scat€tho s
                                                 800-826-0277



                                                                                            IVANTIS SS 00172646
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 65 of 146 PageID #: 7152




                           EXHIBIT 10

                              (Excerpted)
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 66 of 146 PageID #: 7153




                                IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF DELAWARE

        SIGHT SCIENCES, INC.,                          )
                                                       )
                        Plaintiff,                     )
                                                       )
          v.                                           ) C.A. No. 21-1317-VAC-SRF
                                                       )
        IVANTIS, INC.,                                 ) JURY TRIAL DEMANDED
        ALCON RESEARCH LLC,                            )
        ALCON VISION, LLC and                          )
        ALCON INC.                                     )
                                                       )
                        Defendants.                    )

                DEFENDANTS’ CORRECTED INITIAL INVALIDITY CONTENTIONS

               Pursuant to Paragraph 9 of the Amended Scheduling Order (D.I. 65), Defendants Ivantis,

    Inc, Alcon Research LLC, Alcon Vision, LLC, and Alcon Inc. (collectively, “Defendants”), by

    their undersigned counsel, provide the following initial invalidity contentions to Plaintiff Sight

    Sciences, Inc. (“Sight”) for each Asserted Claim of U.S. Patent Nos. 8,287,482 (the “’482 Patent”);

    9,370,443 (the “’443 Patent”); 9,486,361 (the “’361 Patent”); and 10,314,742 (the “’742 Patent”)

    (collectively, the “Asserted Patents”).1

               These contentions and disclosures are preliminary, and Defendants reserve the right to

    amend or supplement these contentions and disclosures based on fact and expert discovery, after

    claim terms are construed, and as permitted by the Court’s rules and orders. These contentions and

    disclosures are subject to correction for inadvertent errors or omissions, if any.




    1
      Plaintiff filed a Second Amended Complaint on August 1, 2022, that added U.S. Patent No.
    11,389,328 (the “’328 Patent”) to the lawsuit. Per the Amended Scheduling Order, Defendants will
    supplement their Initial Invalidity Contentions by September 22, 2022, to include their contentions
    for ’328 Patent.
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 67 of 146 PageID #: 7154




    June 26, 2006 priority date. Instead, the claims reciting “support” without the central core language

    are entitled to a priority date no earlier than the following, which represent the first time the term

    “support” appeared in claim language without the central core language:

        ’482 Patent                                        January 27, 2010
        ’443 Patent                                        N/A3
        ’361 Patent                                        January 27, 2010 (due to its priority claim to
                                                           the application that became the ’482 patent)
        ’742 Patent                                        June 14, 2016

    II.       IDENTIFICATION OF PRIOR ART

              Pursuant to Paragraph 9 of the Amended Scheduling Order (D.I. 65), and based on public

    information and produced documents available to it at this time, Defendants identify the following

    prior art that Defendants allege anticipate or render obvious each asserted claim.

        #    Author/      Patent/           Title/               Published/ Country           Abbreviation
             Publisher/   Publication       Name/                Issue,       of Origin       /
             Inventor/    No.               Activity             Availability                 Short Name
             Source                                              , or First
                                                                 Use, Sale,
                                                                 Disclosure,
                                                                 or Offer to
                                                                 Sell Date
        1    Lynch et     2005/0038334      Shunt Device         Feb. 17,        U.S.         Lynch ’334
             al.                            and Method for       2005
                                            Treating
                                            Glaucoma




    3
      Each independent claim originally filed with the application that became the ’443 patent included
    the “wherein the support occupies at least a portion of a central core of Schlemm’s canal.” See
    Feb. 20, 2011 Amendments to the Claims, cls. 1, 53, 77, 79, 84, 88, 89, 90, 92, and 98. It was not
    until January 13, 2015 that the Applicants amended the claims to broaden the “support” term and
    remove the “occupies at least a portion of a central core of Schlemm’s canal” language. This
    addition was new matter, rendering the claims invalid under 35 U.S.C. § 112 ¶ 1 (pre-AIA)

                                                       5
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 68 of 146 PageID #: 7155




     #   Author/       Patent/        Title/           Published/ Country       Abbreviation
         Publisher/    Publication    Name/            Issue,       of Origin   /
         Inventor/     No.            Activity         Availability             Short Name
         Source                                        , or First
                                                       Use, Sale,
                                                       Disclosure,
                                                       or Offer to
                                                       Sell Date
     2   Grieshaber    2,244,646      Method and       Feb. 15,     Canada      Grieshaber
         et al.                       Device to        1999
                                      Improve
                                      Aqueous
                                      Humor
                                      Drainage in an
                                      Eye
     3   Porteous et   2004/0254520   Coil Implant     Dec. 16,     U.S.        Porteous
         al.                          for Glaucoma     2004
                                      Treatment
     4   Gharib        2002/0165478   Bifurcatable     Nov. 7,      U.S.        Gharib
                                      Trabecular       2002
                                      Shunt for
                                      Glaucoma
                                      Treatment
     5   Lynch et      2005/105197    Indwelling       Nov. 10,     WIPO        Lynch ’197
         al.                          Shunt Device     2005
                                      and Methods
                                      for Treating
                                      Glaucoma
     6   Neuhann et 6,494,857         Device for       Dec. 17,     U.S.        Neuhann
         al.                          Improving in a   2002
                                      Targeted
                                      Manner and/or
                                      Permanently
                                      Ensuring the
                                      Ability of the
                                      Aqueous
                                      Humor to Pass
                                      Through the
                                      Trabecular
                                      Meshwork
     7   Stegmann      2006/066103    Ophthalmic       June 22,     WIPO        Stegmann
         et al.                       Implant for      2006
                                      Treatment of
                                      Glaucoma

                                                 6
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 69 of 146 PageID #: 7156




     #    Author/      Patent/        Title/           Published/ Country       Abbreviation
          Publisher/   Publication    Name/            Issue,       of Origin   /
          Inventor/    No.            Activity         Availability             Short Name
          Source                                       , or First
                                                       Use, Sale,
                                                       Disclosure,
                                                       or Offer to
                                                       Sell Date
     8    Lynch et     00/64391       Stent Device     Nov. 2,      WIPO        Lynch ’391
          al.                         and Method for   2000
                                      Treating
                                      Glaucoma
     9    Bergheim     2003/0060752   Glaucoma         Mar. 27,     U.S.        Bergheim
          et al.                      Device and       2003
                                      Methods
                                      Thereof
     10   Tu et al.    6,736,791      Glaucoma         May 18,      U.S.        Tu ’791
                                      Treatment        2004
                                      Device
     11   Tu et al.    2005/0266047   Injectable       Dec. 1,      U.S.        Tu ’047
                                      Glaucoma         2005
                                      Implants with
                                      Multiple
                                      Openings
     12   Tu et al.    02/36052       Glaucoma         May 10,      WIPO        Tu ’052
                                      Treatment        2002
                                      Device
     13   Smedley et   2006/0116626   Fluid Infusion   June 1, 2006 U.S.        Smedley
          al.                         Methods for
                                      Glaucoma
                                      Treatment
     14   Shadduck     2004/0193262   Implants for     Sept. 30,    U.S.        Shadduck
                                      Treating         2004
                                      Ocular
                                      Hypertension,
                                      Methods of
                                      Use and
                                      Methods of
                                      Fabrication
     15   Burns et al. 2004/0147870   Glaucoma         July 29,     U.S.        Burns
                                      Treatment Kit    2004



                                                 7
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 70 of 146 PageID #: 7157




     #    Author/      Patent/           Title/          Published/ Country       Abbreviation
          Publisher/   Publication       Name/           Issue,       of Origin   /
          Inventor/    No.               Activity        Availability             Short Name
          Source                                         , or First
                                                         Use, Sale,
                                                         Disclosure,
                                                         or Offer to
                                                         Sell Date
     16   Hill         6,533,768         Device for      Mar. 18,     U.S.        Hill
                                         Glaucoma        2003
                                         Treatment and
                                         Methods
                                         Thereof
     17   Bahler et    Am. J.            Trabecular      July 19,     U.S.        Bahler
          al.          Ophthalmol.       Bypass Stents   2004
                       138:988–94        Decrease
                       (2004), DOI:      Intraocular
                       10.1016/j.ajo.2   Pressure in
                       004.07.035        Cultured
                                         Human
                                         Anterior
                                         Segments
     18   Glaukos      N/a               iStent®         At least as   U.S.       iStent
                                                         early as July
                                                         2004
     19   Stefansson   Am. J.            An Operation    Sept. 1925   Canada      Stefansson
                       Ophthamol.        for Glaucoma
                       8/9:681-93
                       (1925)
     20   Sidoti et al. Current       Glaucoma           April 1,     U.S.        Sidoti
                        Opinion in    Drainage           1994
                        Ophthamology Implants
                        5:11:85-98
                        (1994),
                        DOI: 10.1097/
                        00055735-
                        199404000-
                        00013




                                                    8
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 71 of 146 PageID #: 7158




     #    Author/       Patent/          Title/           Published/ Country       Abbreviation
          Publisher/    Publication      Name/            Issue,       of Origin   /
          Inventor/     No.              Activity         Availability             Short Name
          Source                                          , or First
                                                          Use, Sale,
                                                          Disclosure,
                                                          or Offer to
                                                          Sell Date
     21   Schwartz      Curr. Opin.      Glaucoma         April 2006   U.S.        Schwartz
          et al.        Ophthamol.       Drainage
                        17:181-189       Implants: A
                        (2006), DOI:     Critical
                        10.1097/01.icu   Comparison of
                        .0000193080.5    Types
                        5240.7e
     22   Haffner et    2004/0102729     Devices and      May 27,      U.S.        Haffner
          al                             methods for      2004
                                         Glaucoma
                                         Treatment
     23   Johnson, et   J. Glacoma,      How Does         Feb. 2001    U.S.        Johnson
          al.           10:55-67         Nonpenetrating
                        (2001).          Glaucoma
                                         Surgery Work?
                                         Aqueous
                                         Outflow
                                         Resistance and
                                         Glaucoma
                                         Surgery
     24   Butany et     J. Clin.         Coronary         Sept. 2005   U.S.        Butany
          al.           Pathol.,         Artery Stents:
                        58:795-804       Identification
                        (2005), DOI:     and Evaluation
                        10.1136/jcp.20
                        04.024174
     25   Colombo       J. Am. Coll.     Selection of     Sept. 2002   U.S.        Colombo
          et al.        Cardiol.,        Coronary
                        40(6):1021-      Stents
                        1033 (2002).




                                                    9
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 72 of 146 PageID #: 7159




     #    Author/      Patent/         Title/          Published/ Country       Abbreviation
          Publisher/   Publication     Name/           Issue,       of Origin   /
          Inventor/    No.             Activity        Availability             Short Name
          Source                                       , or First
                                                       Use, Sale,
                                                       Disclosure,
                                                       or Offer to
                                                       Sell Date
     26   Guerrero et Int.             Complications   January       U.S.       Guerrero
          al.         Ophthamol.       of Glaucoma     2000
                      Clin.,           Drainage
                      40(1):149-163    Implant
                      (2000),          Surgery
                      DOI: 10.1097/
                      00004397-
                      200040010-
                      00015
     27   Minckler     Cochrane      Aqueous           April 19,     U.S.       Minckler
          et al.       Database of   Shunts for        2006
                       Systematic    Glaucoma
                       Reviews, 2:1-
                       56 (2006),
                       DOI:
                       10.1002/14651
                       858.CD00491
                       8.pub2
     28   Yablonski    J. Glaucoma,    Trabeculotomy   April 2005    U.S.       Yablonski
                       14(2):91-97     with Internal
                                       Tube Shunt
     29   Zhou et al   J. Glaucoma,    Trabecular      October       U.S.       Zhou
                       15(5):446-455   Bypass          2006
     30   Stegmann     5,360,399       Method and      November      U.S.       Stegmann
                                       Apparatus for   1, 1994                  ’399
                                       Maintaining
                                       the Normal
                                       Intraocular
                                       Pressure
     31   Stegmann     5,486,165       Method and      January 23,   U.S.       Stegmann
                                       Appliance for   1996                     ’165
                                       Maintaining
                                       the Natural
                                       Intraocular
                                       Pressure


                                                  10
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 73 of 146 PageID #: 7160




     #     Author/       Patent/            Title/            Published/ Country          Abbreviation
           Publisher/    Publication        Name/             Issue,       of Origin      /
           Inventor/     No.                Activity          Availability                Short Name
           Source                                             , or First
                                                              Use, Sale,
                                                              Disclosure,
                                                              or Offer to
                                                              Sell Date
     32    Matthias et   J. Cataract        Viscocanalosto    Sept 2000       U.S.        Matthias
           al.           Refract Surg,      my For
                         26:1367-1373       Primary Open-
                         (2000), DOI:       Angle
                         https://doi.org/   Glaucoma: The
                         10.1016/S0886      Gross Pankow
                         -                  Experience
                         3350(00)0044
                         9-1
     33    Lynch et      2005/0090807       Shunt Device      April 28,       U.S.        Lynch ’807
           al.                              and Method for    2005
                                            Treating
                                            Glaucoma

           Defendants’ investigation is ongoing, and Defendants reserve the right to identify new or

    additional references as their investigation continues. For example, Defendants expect that this

    disclosure may be amended or supplemented based on additional prior art identified during

    discovery of which Defendants were not aware at the time of these contentions.

                   1.      Ivantis Prior Art

           Given that the Asserted Claims of the Asserted Patents are not entitled to the June 26, 2006

    priority date for the reasons explained above in Section I, the below references and products qualify

    as prior art. Moreover, to the extent Defendants infringe any of the Asserted Claims, the following

    Ivantis references or product either anticipate or render obvious each of the Asserted Claims.

                           a.      Ivantis §§ 102(a), (b) Prior Art References




                                                       11
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 74 of 146 PageID #: 7161




    requires “the support does not substantially interfere with transmural flow across Schlemm’s

    canal.” Nothing in the specification explains how “into and out of” differs from “across.” Thus,

    Claim 57 contains no additional limitations that Claim 1 does not already recite, and is invalid. See

    Pfizer, Inc. v. Ranbaxy Labs. Ltd., 457 F.3d 1284 (Fed. Cir. 2006)

           Similarly, claim 15 of the ’482 patent is invalid for failing to comply with the requirements

    of 35 U.S.C. § 112 ¶ 4. Claim 15, which depends upon claim 1, recites that “the support has a

    unitary structure.” If “has” is interpreted in its ordinary sense to mean that the support must have

    at least one component that has a unitary structure, but it may have other separate or connectable

    components, then “unitary structure” does not limit the support.

    VIII. DOCUMENT PRODUCTION

           Copies of the prior art referenced in Defendants’ Corrected Initial Invalidity Contentions

    are    being     produced      with     production     numbers:      IVANTIS_SS_00001298            -

    IVANTIS_SS_00003153.




                                                     51
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 75 of 146 PageID #: 7162




     Dated: September 2, 2022                 /s/ Kat Li
                                              Kat Li
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                                              SHAW KELLER LLP
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Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 76 of 146 PageID #: 7163




                                     CERTIFICATE OF SERVICE

           I, Kat Li, hereby certify that on September 2, 2022, this document was served on the

    persons listed below in the manner indicated:

      BY EMAIL
      Melanie K. Sharp                                   Michelle S. Rhyu, J.D., Ph.D.
      James L. Higgins                                   David N. Murdter
      Taylor E. Hallowell                                Deepa Kannappan
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            New York, NY 10022                           (302) 298-0700
            (212) 446-4800                               jshaw@shawkeller.com
                                                         nhoeschen@shawkeller.com
            Dated: September 2, 2022
                                                         Attorneys for Defendants



                                                    53
Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 77 of 146 PageID #: 7164




                           EXHIBIT 11
Case  1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 78 of 146 PageID #: 7165
 Glaukos Corporation v. Ivantis, Inc., Slip Copy (2020)


                                                                   Asserted Patents disclose inventions relating to the treatment
                    2020 WL 10501850                               of glaucoma. See id. Glaukos alleged “[t]he infringing
       Only the Westlaw citation is currently available.           Ivantis product is a medical device known as the Hydrus
        United States District Court, C.D. California.             Microstent (‘Hydrus’).” Id. ¶ 1. Glaukos further alleged “[o]n
                                                                   information and belief, Ivantis currently manufactures the
                GLAUKOS CORPORATION                                Hydrus at its facility in Irvine, California, for use outside
                         v.                                        of the safe harbor provided under 35 U.S.C. § 271(e)(1),
                    IVANTIS, INC.                                  including for commercial use in international markets.” Id. ¶
                                                                   2.
              Case No. SACV 18-620 JVS (JDEx)
                               |                                   Ivantis maintained a document policy that automatically
                       Filed 06/17/2020                            deletes emails after 12 months; it instituted this policy in
                                                                   2013. Declaration of Lisa Glasser (“Glasser Decl.”), Exs. 49,
 Attorneys and Law Firms                                           61; Declaration of David Van Meter (“Van Meter Decl.”) ¶ 3
                                                                   Ivantis claims it instituted its email policy to alleviate burdens
 Lisa Sharrock Glasser, David C. McPhie, Morgan Chu,
                                                                   on its IT systems. Van Meter Decl. ¶¶ 2-4. It is impossible for
 Stephen M. Payne, Irell and Manella LLP, Newport Beach,
                                                                   Ivantis to recover any emails that were deleted. Glasser Decl,
 CA, for Glaukos Corporation.
                                                                   Ex. 14. Ivantis made no effort to preserve documents related
 Ajay S. Krishnan, Christina Lee, David J. Silbert, Kristen        to Glaukos before Glaukos filed suit in April 2018. Glasser
 Elizabeth Lovin, Laurie Carr Mims, Leo L. Lam, Robert             Decl., Exs. 2, 10, 15. Ivantis instituted a litigation hold on
 Adam Lauridsen, Robert A. Van Nest, Jr., Sophie A. Hood,          April 19, 2018. Van Meter Decl. ¶ 5. Thus, emails as of April
 Tara Melody Rangchi, Keker Van Nest and Peters LLP, San           19, 2017 were not subject to the mandatory deletion policy. Id.
 Francisco, CA, for Ivantis, Inc.


                                                                                     II. LEGAL STANDARD
   Proceedings: [IN CHAMBERS] Order Regarding
 Motion for Adverse Inference Instruction and Exclusion            Spoliation is “the destruction or significant alteration of
                                                                   evidence, or the failure to preserve property for another's use
 James V. Selna, U.S. District Court Judge                         as evidence, in pending or future litigation.” Kearney v. Foley
                                                                   & Lardner, LLP, 590 F.3d 638, 649 (9th Cir. 2009). A party
  *1 Plaintiff and Counter-Defendant Glaukos Corporation           that has despoiled evidence can be sanctioned by a district
 (“Glaukos”) moved for an adverse inference instruction            court under two sources of authority: “the inherent power
 and exclusion regarding Defendant Ivantis, Inc.'s (“Ivantis”)     of federal courts to levy sanctions in response to abusive
 alleged spoliation of evidence. Mot., Dkt. No. 413 (sealed        litigation practices, and the availability of sanctions under
 version at Dkt. No. 429-7). Ivantis opposed. Opp'n, Dkt. No.      Rule 37 against a party who fails to obey an order to provide
 495 (sealed version at Dkt. No. 509). Glaukos replied. Reply,     or permit discovery.” Leon v. IDX Sys. Corp., 464 F.3d 951,
 Dkt. No. 526 (sealed version at Dkt. No. 541).                    958 (9th Cir. 2006) (internal quotations and citations omitted).

 For the reasons stated in this Order, the Court GRANTS            The obligation to preserve relevant evidence attaches when
 Glaukos's motion. 1                                               litigation is “pending or reasonably foreseeable.” Sunrider
                                                                   Corp. v. Bountiful Biotech Corp., 2010 WL 4590766, at *29
                                                                   (C.D. Cal. Oct. 8, 2010) (citing Zubulake v. UBS Warburg
                                                                   LLC, 220 F.R.D. 212, 216 (S.D.N.Y. 2003)); see also United
                       I. BACKGROUND
                                                                   States v. Kitsap Physicians Serv., 314 F.3d 995, 1001 (9th Cir.
 Glaukos filed this action for patent infringement against         2002) (finding no spoliation because the defendant was not
 Ivantis on April 14, 2018. Complaint, Docket No. 1. Glaukos       on notice of a “future, specific” lawsuit). Courts in the Ninth
 asserts two patents: (1) U.S. Patent No. 6,626,858 (“the '858     Circuit generally agree that this duty is triggered “[a]s soon as
 patent”), and (2) U.S. Patent No. 9,827,143 (“the '143 patent”)   a potential claim is identified.” Apple, Inc. v. Samsung Elecs
 (collectively, the “Asserted Patents”). Id., Exs. A, B. The       Co., 888 F. Supp. 2d 976, 991 (N.D. Cal. 2012) (citations



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 omitted). This duty to preserve extends to evidence that             certain curative measures for failure to preserve electronically
 parties knew or should have known was relevant or may be             stored information. This amendment “forecloses reliance
 relevant to future litigation. Kitsap, 314 F.3d at 1001; Sunrider    on inherent authority or state law to determine when
 Corp., 2010 WL 4590766, at *29; see also Wm. T. Thompson             certain measures should be used” to address spoliation of
 v. Gen. Nutrition Corp., 593 F. Supp. 1443, 1455 (C.D. Cal.          electronically stored information. See Fed. R. Civ. P. 37(e),
 1984.) (“Sanctions may be imposed against a litigant who is          Advisory Committee Note to 2015 Amendment (emphasis
 on notice that documents and information in its possession are       added).
 relevant to litigation, or potential litigation, or are reasonably
 calculated to lead to the discovery of admissible evidence,          Rule 37(e) recites the following:
 and destroys such documents and information.”). Notably,
 a finding of bad faith is not required to justify a spoliation         e) Failure to Preserve Electronically Stored Information.
 sanction. Glover v. BIC Corp., 6 F.3d 1318, 1329 (9th Cir.             If electronically stored information that should have been
 1993).                                                                 preserved in the anticipation or conduct of litigation is lost
                                                                        because a party failed to take reasonable steps to preserve
  *2 “The court has broad discretion to fashion, on a case-by-          it, and it cannot be restored or replaced through additional
 case basis, an appropriate sanction for spoliation.” Cyntegra,         discovery, the court:
 Inc. v. Idexx Laboratories, Inc., 2007 WL 5193736, at *2,
                                                                           (1) upon finding prejudice to another party from loss
 2007 U.S. Dist. LEXIS 97417, at *4 (C.D. Cal. Sept. 21,
                                                                           of the information, may order measures no greater than
 2007) (citing Unigard Sec. Ins. Co. v. Lakewood Eng'g &
                                                                           necessary to cure the prejudice; or
 Mfg. Corp., 982 F.3d 363, 367 (9th Cir. 1992). District courts
 may employ a variety of different sanctions in response to                (2) only upon finding that the party acted with the intent
 the spoliation of evidence, including monetary sanctions,                 to deprive another party of the information's use in the
 evidentiary sanctions, civil contempt sanctions, and default              litigation may:
 judgment. See In re Napster, Inc. Copyright Litig., 462
 F. Supp. 2d 1060, 1066 (N.D. Cal. 2006). However, the                       (A) presume that the lost information was unfavorable
 Court's “inherent powers must be exercised with restraint                   to the party;
 and discretion.” Advantacare Health Partners v. Access IV,
 2004 WL 1837997, at *4, 2004 U.S. Dist. LEXIS 16835,                        (B) instruct the jury that it may or must presume the
 at *12 (N.D. Cal. Aug. 17, 2004) (citing Roadway Express,                   information was unfavorable to the party; or
 Inc. v. Piper, 447 U.S. 752, 764, 100 S.Ct. 2455, 65 L.Ed.2d
                                                                             (C) dismiss the action or enter a default judgment.
 488 (1980)). When selecting the appropriate sanction, the
 Court generally considers: “(1) the degree of fault of the           Fed. R. Civ. P. 37(e) (emphasis added).
 party who altered or destroyed the evidence; (2) the degree
 of prejudice suffered by the opposing party; and (3) whether
 there is a lesser sanction that will avoid substantial unfairness
                                                                                           III. DISCUSSION
 to the opposing party.” Apple, 888 F. Supp. 2d at 992 (citing
 Nursing Home Pension Fund v. Oracle Corp., 254 F.R.D.                A. Finding of Spoliation
 559, 563 (N.D. Cal. 2008). Spoliation sanctions should be            In order to establish spoliation, Glaukos must demonstrate
 “commensurate to the spoliating party's motive or degree             that Ivantis destroyed evidence that was potentially relevant
 of fault in destroying the evidence.” Cottle-Banks v. Cox            to the reasonably foreseeable litigation. See Housing Rights
 Comm'ns, Inc., 2013 WL 2244333, at *13 (S.D. Cal. May 21,            Center v. Sterling, 2005 WL 3320739, at *3, 2005 U.S.
 2013) (quoting Apple, 888 F. Supp. 2d at 992-93). Therefore,         Dist. LEXIS 44769, at *10 (C.D. Cal. Mar. 3, 2005) (“[A]
 the Court may deny a request for harsh sanctions when the            litigant is under no duty to keep or retain every document
 “degree of fault and level of prejudice were insufficient to         in its possession ... it is under a duty to preserve what
 justify the imposition of the sanctions.” Apple, 888 F. Supp.        it knows, or reasonably should know, is relevant in the
 2d at 993.                                                           action, is reasonably calculated to lead to the discovery of
                                                                      admissible evidence, is reasonably likely to be requested
 Rule 37(e) of the Federal Rules of Civil Procedure was               during discovery, and/or is the subject of a pending discovery
 amended to establish the findings necessary to support               request.”) (citing Zubulake, 220 F.R.D. at 217). The duty to



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 preserve relevant documents attaches when future litigation       industry analyst report, from November 2017, stated that
 is “probable,” which means “more than a possibility.”             Glaukos was expected to initiate legal proceedings against
 Realnetworks, Inc. v. DVD Copy Control Ass'n, 264 F.R.D.          Ivantis. Glasser Decl., Ex. 43.
 517, 524 (N.D.Cal. 2009). The critical inquiry is whether
 Ivantis had “some notice that the documents were potentially      Fourth, Ivantis began preparing inter partes review petitions
 relevant.” Cyntegra, 2007 WL 5193736, at *2, 2007 U.S. Dist.      to challenge Glaukos's Asserted Patents by no later than
 LEXIS 97417, at *8 (quoting Akiona v. United States, 938          March 2018, a month before Glaukos filed its Complaint.
 F.2d 158, 161 (9th Cir. 1991)) (emphasis added).                  Glasser Decl., Exs. 15, 45.

  *3 Glaukos moves for an adverse inference jury instruction       Ivantis generally argues that it openly developed the Hydrus
 and preclusion sanctions based on Ivantis's failure to            and therefore that Glaukos was aware of the product. Opp'n
 preserve emails when litigation allegedly became reasonably       at 3-4; Van Meter Decl. ¶¶ 6-9. Glaukos, according to Ivantis,
 foreseeable. See generally, Mot. Glaukos claims that Ivantis's    “never undertook any actions to put Ivantis on notice ...
 failure to suspend its email policy, which deleted all company    whether through express notice to Ivantis or any other means,
 emails annually, resulted in spoliation of evidence. Id.          despite being fully aware of Ivantis's development of the
 According to Glaukos, there are four reasons why litigation       Hydrus.” Opp'n at 11; Van Meter Decl. ¶ 10. 2 The Court is not
 was reasonably foreseeable before Ivantis suspended its email     convinced that Glaukos's choice not to explicitly put Ivantis
 policy.                                                           on notice of litigation excuses Ivantis's obligation to preserve
                                                                   emails relevant to litigation, at the point that it was reasonably
 First, in 2009, one of the two inventors of the Asserted          foreseeable. See Thompson v. U.S. Dep't of Housing & Urban
 Patents, Dr. Reay Brown, told Ivantis that he was sure            Development, 219 F.R.D. 93, 100 (D. Md. 2003) (“While
 the Hydrus “must infringe,” and then followed up with an          a litigant certainly may request that an adversary agree to
 email stating that the “essential features” of the device “are    preserve electronic records ... it is not required, and a failure to
 depicted” in the parent patent to the Asserted Patents and        do so does not vitiate the independent obligation of an adverse
 that the patent “perhaps anticipat[e] some of the features in     party to preserve such information.”); Apple, 881 F. Supp.
 your device.” Glasser Decl. Exs. 3, 11. Dr. Brown retained        2d at 1136 (plaintiffs' “failure” to send preservation letter “
 this email, which is how Glaukos obtained it; Ivantis did         ‘does not vitiate the independent obligation of an adverse
 not produce it. Mot. at 5. Ivantis's CEO responded to Dr.         party to preserve such information’ if the adverse party knows
 Brown that Ivantis was “certain [its] IP does not infringe.”      or should know of impending litigation”); Napster, 462 F.
 Declaration of Christina Lee (“Lee Decl.”), Ex. G.                Supp. 2d at 1069 (duty to preserve evidence arose over a
                                                                   year before receipt of preservation letter where defendant
 Second, in 2013, Ivantis hired outside patent litigation          “should reasonably have believed that litigation against it was
 counsel to conduct diligence related to Glaukos's patents.        probable.”).
 Glasser Decl., Exs. 10, 40. Additionally, Ivantis asserts
 the work product privilege over documents dating back to           *4 Additionally, Ivantis also argues that litigation “was at
 at least September 2017; Glaukos argues this must mean            most a possibility” until early 2018, and that it was not on
 these documents were prepared in anticipation of litigation       notice about this litigation prior to Glaukos filing suit. Opp'n
 regarding the Hydrus. Mot. at 6; Glasser Decl., Exs. 14, 40,      at 10; see Oracle Am., Inc. v. Hewlett Packard Enter. Co., 328
 54.                                                               F.R.D. 543, 551 (N.D. Cal. 2018). For example, Ivantis argues
                                                                   that its IPR filings did not involve litigation, and neither did
 Third, multiple investors considered investing in Ivantis or      its retention of outside counsel to perform patent diligence.
 acquiring it but declined to do so based on concerns about        Opp'n at 11-12. The work product entries in Ivantis's privilege
 patent litigation by Glaukos. Mot. at 6. In 2017, one investor    log, it claims, “are not related to this litigation (or the potential
 stated that Glaukos's patents presented “a big issue,” while      for it),” although Ivantis does not point to other litigation
 another stated the same year that it would not invest based on    that would justify asserting the work product privilege. Id. at
 “IP overhang.” Glasser Decl., Exs. 42, 46, 47. In May 2017,       12. Finally, the “apprehension from the investing community
 Ivantis's CEO circulated a report from an industry analyst,       regarding a risk of litigation,” according to Ivantis, does not
 who stated that he expected that Glaukos would initiate patent    amount to a probability of litigation. See Realnetworks, 264
 litigation in 2018. Mot. at 6-7, Glasser Decl., Ex. 44. Another



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 F.R.D. at 526 (“[a] general concern over litigation does not         First, the Court concludes that Rule 37(e)—a rule that
 trigger a duty to preserve evidence.”).                              Glaukos identifies in its motion for sanctions—applies to
                                                                      the relief sought. Since the Advisory Committee Notes to
 The Court has reviewed the relevant sequence of events               the 2015 amendment of Rule 37(e) make clear that the
 and concludes that actions taken by Ivantis, and various             new rule “forecloses reliance on inherent authority or state
 communications made by third parties to Ivantis, illustrate not      law to determine when certain measures should be used” to
 only that a reasonable party in Ivantis's position would have        address spoliation of electronically stored information, the
 reasonably foreseen this litigation, but that Ivantis actually       Court is unable to exercise its inherent power to sanction
 foresaw this litigation, at least by the beginning of 2017, if not   the alleged conduct by Ivantis. Rule 37(e) was amended to
 earlier. See Waymo LLC v. Uber Techs., 2018 WL 646701,               promote uniformity because the previous rule caused circuits
 at *15 (N.D. Cal. Jan. 30, 2018). Ivantis's retention of outside     to “establish[ ] significantly different standards for imposing
 counsel to perform due diligence, and its assertion of the           sanctions or curative measures on parties who fail to preserve
 work product privilege, reveal that it apprehended it would          electronically stored information.” Fed. R. Civ. P. 37(e),
 be sued. Id. at *15 (noting that the defendant “consulted and        Advisory Committee Note to 2015 Amendment. Thus, even
 retained [ ] litigation counsel to obtain legal advice regarding     if the Court were not foreclosed from exercising its inherent
 potential liability exposure,” retained a firm to perform “a         power to sanction in this context, the Court still would not
 due diligence investigation,” and then asserted privilege            do so because the remedies under Fed. R. Civ. P. 37(e) are
 over such activities). The communications by Dr. Brown,              directly applicable to the alleged conduct at issue.
 multiple potential investors, and industry analysts buttress
 this conclusion. See, e.g., Surowiec v. Capital Title Agency,         *5 An adverse inference is a sanction carried out as an
 Inc., 790 F. Supp. 2d 997, 1005–06 (D. Ariz. 2011) (letter           instruction to the trier of fact that “evidence made unavailable
 from third party warning that plaintiff might sue sufficient to      by a party was unfavorable to that party.” Lewis, 261 F.R.D.
 create a reasonable apprehension of suit); see also Metrokan,        at 521 (quoting Nursing Home Pension Fund v. Oracle Corp.,
 Inc. v. Built NY, Inc., 2008 WL 4185865, at *5 (S.D.N.Y.             254 F.R.D. 559, 563 (N.D.Cal. 2008)). In order for the
 Sept. 3, 2008) (email exchange between bag designer and              Court to impose an adverse inference Glaukos must establish
 principal of defendant that bags were “confusingly similar”          that: “(1) the party having control over the evidence had
 created anticipation of trademark suit). Finally, its preparation    an obligation to preserve it; (2) the records were destroyed
 of the IPR filings also illuminates an apprehension of the           with a culpable state of mind; and (3) the destroyed evidence
 likelihood of litigation.                                            was relevant to the party's claim or defense.” Id. (quoting
                                                                      Residential Fund'g Corp. v. De–George Fin. Corp., 306 F.3d
 Therefore, even if Ivantis's policy supported the annual,            99, 107 (2d Cir.2002)). The “culpable state of mind” includes
 automatic deletion of emails, Ivantis was required to cease          negligence. Id.
 deleting emails once the duty to preserve attached. Since
 Ivantis acknowledges that it did not cease its email policy, the     Before the Court may impose sanctions, Glaukos must
 Court finds that the evidence supports a finding of spoliation       demonstrate that it suffered prejudice from Ivantis's failure
 and that the Court may impose sanctions. See Zubulake,               to suspend its email deletion policy. Glaukos argues that
 220 F.R.D. at 220 (“Once the duty to preserve attaches, any          it suffered prejudice because was unable to review emails
 destruction of documents is, at a minimum, negligent.”).             from key custodians. Mot. At 14. For example, the earliest
                                                                      email produced from Dave Van Meter, the CEO, was from
                                                                      October 2016. Id. As a result, Glaukos contends that it has
    2. Appropriate Sanction                                           been deprived of evidence concerning Ivantis's copying and
 The Court next considers what sanction(s) should be imposed          willful infringement. Id. at 15. Ivantis did not produce emails
 in light of Ivantis's spoliation. Glaukos requests two remedies:     concerning the design of the Hydrus; not did it produce
 (1) an adverse inference instruction, and (2) a sanction             communications made in connection with Dr. Brown's
 prohibiting Ivantis from referring to any pre-suit investigation     warning about infringement. Id. Glaukos also points out that
 of the Asserted Patents as a basis for believing that it did not     the deleted emails would likely include those concerning
 infringe or that the patents were invalid. Mot. at 18-19. 3          Ivantis's investigation of Glaukos's patents as of 2009. Reply
                                                                      at 13.




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                                                                    receiving reports about the inevitability of litigation, and
 Ivantis suggests that Glaukos has not suffered prejudice
                                                                    preparing IPR filings – “show more than just negligence, but
 because all emails from April 2017 onward were retained
                                                                    an intentional decision to continue deleting documents once
 and preserved. Van Meter Decl. ¶¶ 4–5; Opp'n at 9-10. And
                                                                    litigation was not only anticipated but actually underway.”
 Ivantis contends that Glaukos only offers speculation about
                                                                    Mot. at 17.
 what information it was not able to obtain, and that it was
 able to obtain relevant information and documents from other
                                                                    *6 The Court agrees and finds that Glaukos's proposed
 sources. Id. at 17-18. Of course, a measure of speculation
 is somewhat inherent in this activity, as Glaukos reasonably       jury instruction 4 and preclusion sanction are appropriate,
 cannot identify every specific deleted document that would be      given that Ivantis did not suspend its automatic email deletion
 helpful to its case. The Court is satisfied with the categories    policy even when litigation was reasonably foreseeable. The
 of information Glaukos identifies that are covered by the          Court may infer an intent to deprive Glaukos of the relevant
 relevant time period of the email policy.                          emails from Ivantis's actions. See, e.g., Moody v. CSX
                                                                    Transportation, Inc., 271 F. Supp. 3d 410, 431-32 (W.D.N.Y.
 The Court finds that Glaukos suffered prejudice from being         2017). The emails would have been probative to the claims at
 deprived of emails that likely would have been probative to        issue in this action, and as a result, Glaukos is forced to go to
 the claims at issue in this action. See Apple, 881 F. Supp. 2d     trial lacking this evidence. The amount of discovery Ivantis
 at 150 (finding prejudice due to deletion of emails from “key      and Glaukos produced is irrelevant to whether Glaukos
 custodians”). “Prejudice may appear in many forms, such            suffered prejudice; contrary to Ivantis's argument (see Opp'n
 as plaintiffs being unable to fully respond to the secondary       at 16) what matters is the relevant time period (2009 to
 evidence or being required to go to great lengths in discovery     early 2017) during which Ivantis annually deleted emails. The
 to fill in the gaps in the evidence.” 4DD Holdings, LLC v.         preclusion sanction is appropriate because Glaukos cannot
 United States, 143 Fed. Cl. 118, 132 (Fed. Cl. 2019).              counter Ivantis's references to its pre-suit investigation of the
                                                                    Asserted Patents as a basis for believing it did not infringe. 5
 For the Court to issue an adverse inference instruction under
 Rule 37(e)(2), Glaukos must also establish that Ivantis acted      Therefore, the Court GRANTS Glaukos's motion.
 with the intent to deprive Glaukos of evidence. Ivantis argues
 that it did not act with the requisite culpable state of mind or
 the intent to expunge evidence because it adopted its policy
                                                                                         IV. CONCLUSION
 five years before Glaukos filed suit, for the entirely innocent
 reason of making its IT system workable. Opp'n at 13-14; see       For the foregoing reasons, the Court GRANTS Glaukos's
 Micron Tech., Inc. v. Rambus Inc., 645 F.3d 1311, 1322 (Fed.       motion.
 Cir. 2011) (“most document retention policies are adopted
 with benign business purposes.”).                                  The Court asks the parties to meet and confer and notify
                                                                    the Court which parts of the order should be redacted within
 Glaukos argues that “the circumstances of Ivantis's deletion       seven days.
 of relevant documents demonstrate that Ivantis acted with
 intent to deprive Glaukos of the use of such information           IT IS SO ORDERED.
 in this litigation.” Mot. at 16-17. Ivantis instituted its email
 deletion policy in 2013, the same year it retained patent
 litigation counsel. Glaukos contends that subsequent events        All Citations
 – Ivantis performing diligence regarding Glaukos's patents,
 being repudiated by investors based on litigation concerns,        Slip Copy, 2020 WL 10501850




                                                            Footnotes




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 1    The Court has reviewed Ivantis's request for a hearing and finds that oral argument would not be helpful in
      this matter. Fed. R. Civ. P. 78; L.R. 7-15.

 2    Ivantis also argues that the Glaukos's August 2016 litigation hold as to Ivantis is relevant; the Court does not
      find that this date is relevant as to when Ivantis was obligated to preserve emails.

 3    Glaukos no longer asks the Court to exclude evidence relating to Ivantis's hypothetical negotiation theory.
      Reply at 18 n.7.

 4    This is the text of the instruction:

         Ivantis intentionally deleted and failed to preserve relevant evidence for this litigation. Ivantis anticipated
         patent infringement litigation from Glaukos, but nonetheless adopted and maintained a policy that deleted
         all company email after 12 months, resulting in the destruction of virtually all emails at Ivantis that pre-date
         April 2017, including emails specifically relating to the Glaukos Asserted Patents. You may presume from
         that destruction that the destroyed evidence was favorable to Glaukos and unfavorable to Ivantis, including
         on the issue of whether Ivantis willfully infringed the Asserted Patents.

 5    To the extent that pre-suit investigation evidence was work product, Ivantis and/or its counsel would
      necessarily have to waive the privilege to present it at trial.



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                           EXHIBIT 12
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 In re Ivantis, Inc., 835 Fed.Appx. 560 (2020)




                      835 Fed.Appx. 560
                 This case was not selected for                                           ON PETITION
            publication in West's Federal Reporter.
                                                                  Wallach, Circuit Judge.
     See Fed. Rule of Appellate Procedure 32.1 generally
   governing citation of judicial decisions issued on or after
  Jan. 1, 2007. See also U.S.Ct. of App. Fed. Cir. Rule 32.1.                                 ORDER
       United States Court of Appeals, Federal Circuit.
                                                                  Ivantis, Inc. petitions for a writ of mandamus asking this
              IN RE: IVANTIS, INC., Petitioner                    court to vacate the United States District Court for the Central
                                                                  District of California's order granting an adverse-inference
                           2020-147                               instruction and to bar the district court from issuing any
                               |                                  adverse-inference instruction or alternatively to require the
                       November 03, 2020                          district court to defer consideration of any adverse-inference
                                                                  instruction until the end of trial. Glaukos Corporation opposes
 Synopsis
                                                                  the petition. Ivantis replies.
 Background: Owner of patents for treating glaucoma
 brought infringement action against device manufacturer.
                                                                  In April 2018, Glaukos filed the underlying complaint,
 The United States District Court for the Central District of
                                                                  alleging that Ivantis's Hydrus Microstent device used for
 California, James V. Selna, J., granted an adverse-inference
                                                                  treating glaucoma infringed two of Glaukos's patents. During
 instruction. Manufacturer filed petition for writ of mandamus,
                                                                  discovery, Ivantis informed Glaukos that it was unable to
 asking Court of Appeals to vacate District Court's order.
                                                                  produce emails prior to April 19, 2017, citing its email
                                                                  retention policy of deleting emails *561 after 12 months. *
                                                                  Glaukos then moved for an adverse jury instruction.
 The Court of Appeals, Wallach, Circuit Judge, held that
 manufacturer was not entitled to writ of mandamus.               The district court granted Glaukos's motion, finding that
                                                                  Ivantis had destroyed evidence despite “Ivantis actually
                                                                  fore[seeing] this litigation, at least by the beginning of 2017,
 Petition denied.
                                                                  if not earlier.” Appx7. After concluding that Ivantis intended
                                                                  to deprive Glaukos of the emails in litigation in maintaining a
 Procedural Posture(s): On Appeal; Petition for Writ of
                                                                  policy that deleted emails after 12 months despite anticipating
 Mandamus.
                                                                  the litigation and concluding Glaukos was prejudiced in
 On Petition for Writ of Mandamus to the United States            being deprived of potential evidence concerning copying and
 District Court for the Central District of California in No.     willfulness, the court ordered that the jury could presume the
 8:18-cv-00620-JVS-JDE, Judge James V. Selna.                     destroyed evidence was favorable to Glaukos and unfavorable
                                                                  to Ivantis.
 Attorneys and Law Firms
                                                                  A party seeking a writ bears the heavy burden of
 Robert A. Van Nest, Esq., Steven A. Hirsch, Esq., Attorney,      demonstrating to the court that it has no “adequate alternative”
 Laurie Carr Mims, AT, Eduardo E. Santacana, AT, David            means to obtain the desired relief, Mallard v. U.S. Dist. Court
 Silbert, Keker, Van Nest & Peters LLP, San Francisco,            for the S. Dist. of Iowa, 490 U.S. 296, 309, 109 S.Ct. 1814,
 CA, Ajay S. Krishnan, Esq., Keker & Van Nest, LLP, San           104 L.Ed.2d 318 (1989), and that the right to issuance of the
 Francisco, CA, for Petitioner                                    writ is “clear and indisputable,” Will v. Calvert Fire Ins., 437
                                                                  U.S. 655, 666, 98 S.Ct. 2552, 57 L.Ed.2d 504 (1978) (internal
 Lisa Glasser, Attorney, Morgan Chu, Esq., David C. McPhie,
                                                                  quotation marks omitted). And even when those requirements
 Esq., Attorney, Stephen Payne, Irell & Manella LLP, Newport
                                                                  are met, the court must still be satisfied that the issuance of the
 Beach, CA, for Respondent
                                                                  writ is appropriate under the circumstances. Cheney v. U.S.
 Before Dyk, Wallach, and Taranto, Circuit Judges.                Dist. Court for the Dist. of Columbia, 542 U.S. 367, 381, 124
                                                                  S.Ct. 2576, 159 L.Ed.2d 459 (2004).



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 In re Ivantis, Inc., 835 Fed.Appx. 560 (2020)


                                                                        instituting its retention policy the same year it retained patent
                                                                        litigation counsel; (3) Ivantis's CEO circulating a report in
 It is generally inappropriate to review such discovery orders
                                                                        2017 from an industry analyst who stated the expectation
 by mandamus because a post-judgment appeal is an adequate
                                                                        Glaukos would sue for patent infringement in 2018; and (4)
 means to correct an erroneous adverse-inference instruction.
                                                                        Ivantis preparing a petition for inter partes review at least
 See Sanofi-Aventis Deutschland GmbH v. Glenmark Pharms.,
                                                                        a month before the complaint. We discern no obvious basic,
 Inc., USA, 748 F.3d 1354, 1361–63 (Fed. Cir. 2014); Linde
                                                                        undecided legal issue underlying the district court's ruling,
 v. Arab Bank, PLC, 706 F.3d 92, 119 (2d Cir. 2013). Ivantis
                                                                        nor can we say that it was so patently unreasonable as to
 suggests that it may not be able to survive such an appeal
                                                                        warrant mandamus. As to Ivantis's request to order the court
 because, if Glaukos is successful in obtaining the judgment it
                                                                        to defer any intent ruling until hearing trial *562 testimony,
 seeks, Ivantis could owe more money than it is worth. But we
                                                                        the district court denied that request as procedurally improper
 are not prepared to depart from the usual practice of waiting
                                                                        under its local rules for not raising it until requesting
 until after final judgment to review such orders based on such
                                                                        reconsideration, and the court did not clearly and indisputably
 speculation.
                                                                        err in denying a request that it was not properly asked to
                                                                        consider.
 While immediate intervention by way of mandamus may be
 appropriate in certain exceptional circumstances to review
                                                                        Accordingly,
 novel important legal issues, see In re Seagate Tech., LLC, 497
 F.3d 1360, 1367 (Fed. Cir. 2007) (en banc), abrogated on other
                                                                        IT IS ORDERED THAT:
 grounds by Halo Elecs., Inc. v. Pulse Elecs., Inc., ––– U.S.
 ––––, 136 S. Ct. 1923, 195 L.Ed.2d 278 (2016), we cannot say
                                                                        The petition for a writ of mandamus is denied.
 that such circumstances have been presented here. Ivantis's
 petition challenges the assessment that it “acted with the
                                                                        FOR THE COURT
 intent to deprive another party of the information's use in the
 litigation.” Fed. R. Civ. P. 37(e). That assessment was based
 on the specific sequence of events leading up to the litigation,       All Citations
 including: (1) one of the inventors informing Ivantis in 2009
 that he was sure the accused product infringed; (2) Ivantis            835 Fed.Appx. 560




                                                            Footnotes


 *      Ivantis instituted a litigation hold on April 19, 2018, suspending the deletion of one-year old emails.



 End of Document                                                    © 2023 Thomson Reuters. No claim to original U.S. Government Works.




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                           EXHIBIT 13




                              (Excerpted)
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                                IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF DELAWARE

        SIGHT SCIENCES, INC.,                            )
                                                         )
                        Plaintiff,                       )
                                                         )
          v.                                             ) C.A. No. 21-1317-GBW-SRF
                                                         )
        IVANTIS, INC., ALCON RESEARCH                    )
        LLC, ALCON VISION, LLC, and ALCON                )
        INC.,                                            )
                                                         )
                        Defendants.                      )

        DEFENDANTS’ SUPPLEMENTAL OBJECTIONS AND RESPONSES TO PLAINTIFF
           SIGHT SCIENCES, INC.’S FIRST SET OF INTERROGATORIES (NOS. 1-6)


               Pursuant to Federal Rules of Civil Procedure 26 and 33, as well as all applicable local rules

    and this Court’s Orders, Defendants Ivantis, Inc. (“Ivantis”), Alcon Research, LLC, Alcon Vision,

    LLC, and Alcon Inc. (collectively, “Defendants”) hereby make the following objections and

    responses to the First Set of Interrogatories (Nos. 1–6), which were served by Plaintiff Sight

    Sciences, Inc. (“Sight”) on April 18, 2022 (“Interrogatories”).1

                    OBJECTIONS TO SIGHT’S DEFINITIONS AND INSTRUCTIONS

               1.     Defendants object to Sight’s Instructions and Definitions to the extent they purport

    to impose upon Defendants discovery obligations that exceed those provided for in the Federal

    Rules of Civil Procedure or the Local Rules for the United States District Court for the District of

    Delaware, orders entered in this case, or agreements among the parties.




    1
          Alcon Research, LLC, Alcon Vision, LLC, and Alcon Inc. (collectively, “Alcon Defendants”)
          agreed to respond to Sight Sciences’ First Set of Interrogatories by October 17, 2022.
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    Defendants, or believed to be employed by Defendants, are to be contacted solely through Kirkland

    and Ellis LLP.

           9.        Defendants’ discovery and investigation in connection with this case are ongoing.

    As a result, Defendants’ responses are provided without waiver of Defendants’ right to: (a) object

    to other interrogatories directed to the subject matter of these interrogatories and responses; (b)

    make additional or supplementary objections to these interrogatories; or (c) revise, correct,

    supplement, or clarify the contents of these responses.

           10.       Unless otherwise specified, the Alcon Defendants adopt and incorporate by

    reference Ivantis’s general and specific objections to each Interrogatory.


                                   OBJECTIONS AND RESPONSES

    INTERROGATORY NO. 1:

            Please describe in detail Your first awareness of each of the Patents-in-Suit and of the
    patent application to which the Patents-in-Suit claim priority (11/475,523), which was published
    as U.S. Publ. No. 2007/0298068. A complete response should include the date of Your first
    awareness, the identities of Your employees, officers or directors who became aware, and the
    circumstances that led to Your awareness of each of the Patents-in-Suit and of the patent
    application to which the Patents-in-Suit claim priority (11/475,523), which was published as U.S.
    Publ. No. 2007/0298068.

    RESPONSE TO INTERROGATORY NO. 1:

           Ivantis objects to this Interrogatory as seeking information protected from discovery by the

    attorney-client privilege, work-product doctrine, or any other applicable privilege or immunity,

    including attorney-client communications and attorney work product. Ivantis will not provide such

    information. Ivantis objects to this Interrogatory as vague and ambiguous at least because the terms

    “awareness” and “circumstances” are unclear and undefined. Ivantis further objects to this

    Interrogatory as overbroad, unduly burdensome, and/or not proportional to the needs of the case

    because it seeks information irrelevant to the claims or defenses asserted in this proceeding,


                                                     4
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    specifically information regarding awareness of patent application No. 11/475,523 and U.S. Publ.

    No. 2007/0298068. See State Indus., Inc. v. A.O. Smith Corp., 751 F.2d 1226, 1236 (Fed. Cir.

    1985) (“To willfully infringe a patent, the patent must exist and one must have knowledge of it. . . .

    Filing an application is no guarantee any patent will issue and a very substantial percentage of

    applications never result in patents.”). Ivantis further objects to this Interrogatory as overbroad,

    unduly burdensome, and/or not proportional to the needs of the case because this Interrogatory

    seeks information regarding Ivantis’ employees and officers or directors without limitation.

           Without waiving any applicable privileges or immunities, Ivantis responds as follows:

           Based on Ivantis’s investigation to date, Ivantis became aware of the existence of U.S.

    Patent No. 8,287,482 on or around November 2, 2016.

           Based on Ivantis’s investigation to date, Ivantis became aware of U.S. Patent No. 9,370,443

    on or around August 24, 2016.

           Based on Ivantis’s investigation to date, Ivantis was not aware of U.S. Patent

    Nos. 9,486,361; or 10,314,742 prior to the filing of the Complaint in this action.

           Based on Ivantis’s investigation to date, Ivantis became aware of U.S. Publ. No.

    2007/0298068 on or around December 18, 2008.

           Ivantis’s investigation is ongoing and Ivantis reserves its right to supplement, revise, or

    amend this response as discovery and Ivantis’s investigation in this Action proceeds.

    10/17/2022 SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:

           Without waiving any applicable privileges or immunities, Defendants respond as follows:

           Based on Defendants’ investigation to date, the Alcon Defendants became aware of the

    existence of U.S. Patent Nos. 8,287,482; 9,370,443; 9,486,361; and 10,314,742 on or after the

    filing of the Complaint in this action.



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                        Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions

            Based on Defendants’ investigation to date, the Alcon Defendants became aware of U.S.

    Publ. No. 2007/0298068 on or after the filing of the Complaint in this action.

            Based on Defendants’ investigation to date, Defendants became aware on or after July 15,

    2022, that U.S. Patent No. 11,389,328 would issue on July 19, 2022.

            Defendants’ investigation is ongoing, and Defendants reserve the right to supplement,

    revise, or amend this response as discovery and Defendants’ investigation in This Action proceeds.

    4/10/2023 SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:

            Without waiving any applicable privileges or immunities, Defendants respond as follows:

            Based on Defendants’ investigation to date, Defendants became aware of the existence of

    the U.S. Patent No. 8,287,482 on or around November 2, 2016. The following employees, officers,

    or directors were aware of the existence of U.S. Patent No. 8,287,482 on or around that date: Ken

    Galt and Dave Van Meter.




            Based on Defendants’ investigation to date, Defendants became aware of the existence of

    the U.S. Patent No. 9,370,443 on or around August 24, 2016.




            Based on Defendants’ investigation to date, Defendants became aware of the existence of

    the U.S. Patent No. 9,486,361 on or around July 26, 2019. The following employees, officers, or

    directors were aware of the existence of U.S. Patent No. 9,486,361 on or around that date: Ken

    Galt.



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                       Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions




           Based on Defendants’ investigation to date, Defendants became aware of the existence of

    the U.S. Patent No. 10,314,742 on or around September 2, 2020. The following employees,

    officers, or directors were aware of the existence of U.S. Patent No. 10,314,742 on or around that

    date: Jason Finch and Matt Rein.




           Based on Defendants’ investigation to date, Defendants became aware of the existence of

    U.S. Patent No. 11,389,328 on or around July 19, 2022. The following employees, officers, or

    directors were aware of the existence of U.S. Patent No. 11,389,328 on or around that date:

    Christopher Cook, Christine Bohmann, Jeffrey Prokop, Brannon Latimer, and Rebecca Burt.




           Based on Defendants’ investigation to date, Defendants became aware of U.S. Publ. No.

    2007/0298068 on or around December 18, 2008. Pursuant to Federal Rule of Civil Procedure

    33(d), Defendants identify the following documents from which information responsive to this

    Interrogatory may be ascertained: SGHT0029569.

           Defendants’ investigation is ongoing, and Defendants reserve the right to supplement,

    revise, or amend this response as discovery and Defendants’ investigation in This Action proceeds.

    5/30/2023 SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:



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                        Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions


            Without waiving any applicable privileges or immunities, Defendants respond as follows:

            Based on Defendants’ investigation to date, Defendants became aware of the existence of

    the U.S. Patent No. 8,287,482 on or around November 2, 2016. The following employees, officers,

    or directors were aware of the existence of U.S. Patent No. 8,287,482 on or around that date: Ken

    Galt and Dave Van Meter.




            Based on Defendants’ investigation to date, Defendants became aware of the existence of

    the U.S. Patent No. 9,370,443 on or around August 24, 2016.




            Based on Defendants’ investigation to date, Defendants became aware of the existence of

    the U.S. Patent No. 9,486,361 on or around July 26, 2019. The following employees, officers, or

    directors were aware of the existence of U.S. Patent No. 9,486,361 on or around that date: Ken

    Galt.




            Based on Defendants’ investigation to date, Defendants became aware of the existence of

    the U.S. Patent No. 10,314,742 on or around September 2, 2020. The following employees,

    officers, or directors were aware of the existence of U.S. Patent No. 10,314,742 on or around that

    date: Jason Finch and Matt Rein.




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                     Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions




           Based on Defendants’ investigation to date, Defendants became aware of the existence of

    U.S. Patent No. 11,389,328 on or around July 19, 2022. The following employees, officers, or

    directors were aware of the existence of U.S. Patent No. 11,389,328 on or around that date:

    Christopher Cook, Christine Bohmann, Jeffrey Prokop, Brannon Latimer, and Rebecca Burt.




           Based on Defendants’ investigation to date, Defendants became aware of U.S. Publ. No.

    2007/0298068 on or around March 5, 2008. The following employees, officers, or directors were

    aware of the existence of U.S. Publ. No. 2007/0298068 on or around that date: Dave Van Meter,

    Tom Hektner, and Chuck Euteneuer.




           Defendants’ investigation is ongoing, and Defendants reserve the right to supplement,

    revise, or amend this response as discovery and Defendants’ investigation in This Action proceeds.


    INTERROGATORY NO. 2:

            Describe why You offered to purchase or license Sight intellectual property (including but
    not limited to U.S. App. No. 11/475,523, which was published as U.S. Publ. No. 2007/0298068),
    and whether You changed Your business strategy or the design of the Hydrus after Your offer was
    rejected.




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           Defendants’ investigation is ongoing, and Defendants reserves the right to supplement,

    revise, or amend this response as discovery and Defendants’ investigation in this Action proceeds.




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                                              As to objections and contentions only,

                                              /s/ Kat Li
     OF COUNSEL:                              John W. Shaw (No. 3362)
     Gregg LoCascio                           Andrew E. Russell (No. 5382)
     Justin Bova                              Nathan Hoeschen (No. 6232)
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     New York, NY 10022
     (212) 446-4800

     Dated: May 30, 2023




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                                    CERTIFICATE OF SERVICE

           I, Kat Li, hereby certify that on May 30, 2023, this document was served on the persons

    listed below in the manner indicated:

         BY EMAIL
         Melanie K. Sharp                                  Michelle S. Rhyu, J.D., Ph.D.
         James L. Higgins                                  David Murdter
         Taylor E. Hallowell                               Priyamvada Arora
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                          EXHIBIT 14




                             (Excerpted)
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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF DELAWARE

   SIGHT SCIENCES, INC.,                            )
                                                    )         C. A. No.: 21-1317-GBW-SRF
                    Plaintiff,                      )
                                                    )         JURY TRIAL DEMANDED
                                 v.                 )
                                                    )
   IVANTIS, INC., ALCON RESEARCH LLC,               )
   ALCON VISION, LLC AND ALCON INC.,                )
                                                    )
                    Defendants.                     )

                           SIGHT SCIENCES, INC.’S
            THIRD SUPPLEMENTAL RESPONSES AND OBJECTIONS TO
     DEFENDANT IVANTIS, INC.’S FIRST SET OF INTERROGATORIES (NOS. 1-2, 4-7)

           Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Sight

    Sciences, Inc. (“Plaintiff” or “Sight Sciences”) hereby supplements its responses to Defendant

    Ivantis, Inc.’s (“Defendant” or “Ivantis”) First Set of Interrogatories (the “Interrogatories”)

    served on April 22, 2022. On August 1, 2022, Sight Sciences served a Second Amended

    Complaint adding Alcon Research LLC, Alcon Vision, LLC, and Alcon Inc. (collectively,

    “Alcon”) as defendants. D.I. 59. Thus, “Defendants” as used herein refers to Ivantis and Alcon

    collectively.

                                           GENERAL RESPONSES

           1.        Sight Sciences’ response to the Interrogatories is made to the best of Sight

    Sciences’ present knowledge, information, and belief. This response is at all times subject to

    such additional or different information that discovery or further investigation may disclose and,

    while based on the present state of Sight Sciences’ recollection, is subject to such refreshing of

    recollection, and such additional knowledge of facts, as may result from Sight Sciences’ further

    discovery or investigation.

           2.        Sight Sciences reserves the right to make any use of, or to introduce at any
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         Pursuant to 35 U.S.C. §§ 284 and 285, Sight Sciences is entitled to enhanced damages, up

  to three times the amount of any damages found or assessed, and an award of attorneys’ fees and

  costs, because Defendants’ infringement of the Asserted Patents has been and continues to be

  willful, (see Sight Sciences’ responses to Interrogatory No. 6, below), and because Defendants

  have engaged in wanton, malicious, and bad-faith behavior by knowingly infringing Sight

  Sciences’ patents after Defendants’ efforts to purchase the intellectual property underlying Sight

  Sciences’ patents were rejected.

         Sight Sciences is also entitled to the other remedies as set forth in the Prayer for Relief in

  its Second Amended Complaint, including recovery of its costs and attorneys’ fees, and pre-

  judgment and post-judgment interest.

  INTERROGATORY NO. 6

  State the complete factual and legal bases for Your contention that Ivantis willfully infringed the
  Asserted Patents as alleged in Sight Sciences First Amended Complaint, and describe in detail
  the facts that support each basis, including but not limited to the complete factual and legal bases
  for Sight Sciences’ contention that Ivantis had knowledge or was “willfully blind to the existence
  of the Asserted Patents” as asserted in the Complaint. See Dkt. 19, at ¶¶ 25, 30.

  RESPONSE TO INTERROGATORY NO. 6

         Sight Sciences incorporates by reference its General Responses and Objections. Sight

  Sciences further objects to this Interrogatory because it seeks information protected by the

  attorney-client privilege, the work product doctrine, or any other applicable privilege or

  protection from discovery. Sight Sciences objects to this Interrogatory to the extent it seeks a

  legal conclusion or legal analysis. Sight Sciences further objects to this Interrogatory to the

  extent it seeks information outside of Sight Sciences’ possession, custody, or control.

         Subject to the foregoing general and specific objections, Sight Sciences responds as

  follows:




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         Discovery is in its nascent stages and Defendant has not yet provided meaningful

  discovery to Sight Sciences, inhibiting Sight Sciences’ ability to provide a fulsome response to

  this Interrogatory at this time. Notwithstanding the limited information presently available to

  Sight Sciences, Sight Sciences responds as follows:

         Sight Sciences incorporates by reference its First Amended Complaint (D.I. 19). As set

  forth therein, particularly in Paragraphs 20-30, Defendant’s infringement of the Asserted Patents

  has been and continues to be willful, because Defendant has been aware of the parent application

  for each of the Asserted Patents since at least December 18, 2008, as evidenced at least by

  Defendant’s unsuccessful attempts to purchase that application through its agent Doug Roeder.

  Moreover, Sight Sciences expects that discovery will reveal that Ivantis and/or its legal counsel

  has continued to monitor the Badawi brothers’ and then Sight Sciences’ patent portfolio ever

  since Ivantis’s unsuccessful purchasing attempt in 2008. Ivantis’s awareness and continued

  monitoring of Sight Sciences’ patent portfolio is evidenced, for example, by the citation to the

  ’523 application by numerous Ivantis patents, as well as the citation to the ’482 patent by

  Ivantis’s PCT Application PCT/US2016/066957.

         Pursuant to Federal Rule of Civil Procedure 33(d), Sight Sciences will produce non-

  privileged documents in its possession, custody, or control that are responsive to this

  Interrogatory.

         Discovery is in its early stages and ongoing, and Sight Sciences reserves the right to

  supplement or amend its Response to this Interrogatory as discovery progresses.

  SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 6

         Subject to the foregoing general and specific objections, Sight Sciences additionally

  responds as follows:




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         Sight Sciences incorporates the additional allegations regarding willful infringement (for

  example, at least ¶¶30-40 and ¶¶85-101) of its Second Amended Complaint, D.I. 59, filed

  August 1, 2022.

         Sight Sciences also provides the below additional narrative detail of the 2008/2009

  interaction between Paul Badawi and Doug Roeder.

         On December 18, 2008, Ivantis’s then-counsel Jim Shay indicated that he had been

  forwarded U.S. Patent Publication 2007/0298068 from Ivantis and asked Sight’s patent counsel

  Mika Mayer to set up a meeting between Ivantis and the patent application owners to discuss the

  ’068 application. Paul Badawi met with Doug Roeder at the offices of Delphi Ventures (3000

  Sand Hill, Building 1, Suite 135) on January 7, 2009. During the meeting, Mr. Roeder explained

  that Delphi Ventures was an investor in Ivantis and generally described Ivantis’s business.

  Based upon the information Mr. Roeder shared, Mr. Badawi realized that Ivantis would be a

  competitor. Mr. Badawi explained to Mr. Roeder that his goal was to build a company around

  the intellectual property he and his brother had developed, and he rejected Mr. Roeder’s

  overtures made on behalf of Ivantis. There were no further discussions.

         Discovery is in its early stages and ongoing, and Sight Sciences reserves the right to

  supplement or amend its Response to this Interrogatory as discovery progresses.

  SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 6

         Subject to the foregoing general and specific objections, Sight Sciences additionally

  responds as follows:

         Sight Sciences incorporates by reference its Corrected Initial Infringement Contentions

  served on August 26, 2022, with Exhibits A-E attached thereto, and its forthcoming

  supplemental infringement contentions that will incorporate the Court’s claim constructions.




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         Pursuant to Federal Rule of Civil Procedure 33(d), Sight Sciences further identifies the

  following documents from which information responsive to this Interrogatory may be

  ascertained:    SGHT0029566,         SGHT0029567-568,          SGHT0029569,         SGHT0029570,

  SGHT0029571-572, SGHT0029573-574, SGHT0029575-577.

         Sight Sciences further responds that, in Glaukos Corp. v. Ivantis, Inc., C.A. No. 8:18-cv-

  00620-JVS (“the Glaukos Litigation”), the Central District of California entered an adverse

  interference instruction regarding spoliation against Ivantis based on, inter alia, Ivantis’s failure

  to suspend its email deletion policy, which was instituted in 2013 and automatically deleted

  emails after 12 months, when litigation was reasonably foreseeable by 2017 or earlier. 2020 WL

  10501850, at *1-3, *6 (C.D. Cal. June 17, 2020); see also Glaukos, 2020 WL 5914552 (C.D.

  Cal. July 30, 2020) (denying motion for reconsideration of order granting motion for adverse

  interference instruction); see also In re: Ivantis, Inc., 835 F. App’x 560 (Fed. Cir. 2020) (denying

  petition for writ of mandamus re adverse interference instruction). Here, as set forth above,

  Ivantis has been aware of the ’068 patent publication—which is related to the Asserted Patents—

  since at least December 18, 2008. Documents evidencing Ivantis’s knowledge of the Asserted

  Patents 1 therefore overlap with the relevant time period during which Ivantis annually deleted

  emails. See Glaukos, 2020 WL 10501850, at *6 (“[W]hat matters is the relevant time period

  (2009 to early 2017) during which Ivantis annually deleted emails.”). Accordingly, the finding

  of spoliation by Ivantis in the Glaukos Litigation supports Sight Sciences’ claim of willful


  1
    These documents are responsive to at least Sight Sciences’ Request for Production (RFP) No.
  1, which seeks “All documents and communications related to any attempt(s) by You (including
  but not limited to attempts by Doug Roeder acting as Your agent) to purchase any patents or
  patent applications owned by or assigned to Sight.” In response, Ivantis stated that it “will
  produce relevant, non-privileged, and responsive documents regarding any alleged attempt to
  purchase the Patents-in-Suit within Ivantis’s possession, custody, or control to the extent such
  documents exist and can be located with a reasonable search.” Ivantis’s Objections and
  Responses to Sight’s First Set of RFPs (Nos. 1-88) (May 18, 2022); Ivantis’s Second
  Supplemental Objections and Responses to Sight’s First Set of RFPs (Nos. 1-88) (Oct. 17, 2022).


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                       assignments were recorded on May 15, 2019.

                    o On November 23, 2020, Sight Sciences executed an assignment of a

                       reaffirmed and amended security interest in the ’328 patent to Midcap

                       Funding IV Trust, 7255 Woodmont Ave., Suite 200, Bethesda MD 20814.

                       Sight Sciences also executed an assignment of a reaffirmed and amended

                       security interest in the ’328 patent to Midcap Financial Trust, 7255

                       Woodmont Ave., Suite 200, Bethesda MD 20814. The assignments were

                       recorded on November 25, 2020.

         Sight confirms that, to date, there have not been offers by others to license or purchase

  the Asserted Patents, aside from the request to purchase that Ivantis’s representative made in

  2008/2009, for which Sight incorporates its response (and supplemental responses) to

  Interrogatory No. 6. See 3/16/2023 J. Bova Email.

         Pursuant to Federal Rule of Civil Procedure 33(d), Sight Sciences further identifies the

  following documents from which information responsive to this Interrogatory may be

  ascertained: SGHT0130163; SGHT0130165; SGHT0130167; SGHT0130169; SGHT0130171;

  SGHT0130192;       SGHT0130213;        SGHT0130215;         SGHT0130236;        SGHT0130248;

  SGHT0130260; SGHT0130272.




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                                  CERTIFICATE OF SERVICE

           I, Melanie K. Sharp, Esquire, hereby certify that on May 19, 2023, I caused a copy of

  Sight Sciences, Inc.’s Third Supplemental Responses and Objections to Defendant Ivantis, Inc.’s

  First Set of Interrogatories (Nos. 1-2, 4-7) to be served on the following counsel of record in the

  manner indicated below:

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Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 107 of 146 PageID #:
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                         EXHIBIT 15

                            (Excerpted)
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                                   No. 2020-147

                   United States Court of Appeals
                       for the Federal Circuit

                              In re: IVANTIS, INC.
                                          Petitioner
                            ______________________

        On Petition for Writ of Mandamus to the United States District Court
        for the Central District of California in No. 8:18-cv-00620-JVS-JDE,
                                 Judge James V. Selna

                             NONCONFIDENTIAL

       RESPONDENT GLAUKOS CORPORATION’S RESPONSE TO
              PETITION FOR WRIT OF MANDAMUS


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                         CERTIFICATE OF INTEREST

        Counsel for Respondent Glaukos Corporation certify the following:

     1. The full name of every party represented by me is:

           Glaukos Corporation

     2. The names of the real parties in interest represented by me are:

            Not applicable.

     3. All parent corporations and any publicly held companies that own ten
        percent (10%) or more of the stock of the parties represented by me are:

            BlackRock, Inc. – publicly traded parent of entit(ies) owning 10% or
            more of Glaukos stock.

     4. The names of all law firms and the partners or associates that appeared for
        the parties represented by me in the trial court or are expected to appear in
        this Court are:

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            Lisa S. Glasser
            David McPhie
            Morgan Chu
            Stephen M. Payne
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     5. Other than the originating case, any case known to counsel to be pending in
        this or any other court or agency that will directly affect or be directly
        affected by this court’s decision in the pending appeal:

              None.

     6. Organizational Victims and Bankruptcy Cases:

              None/Not applicable.



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                                        Respectfully Submitted,

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               DESCRIPTION OF CONFIDENTIAL MATERIAL

        The material redacted on page 6 of this Response is a quotation from an

  Ivantis email concerning this lawsuit designated as Highly Confidential by Ivantis

  pursuant to the Stipulation and Protective Order (SAppx250-268). The material

  redacted on page 7 of this Response is a quotation from an Ivantis email concerning

  Glaukos’s asserted ’143 Patent designed as Highly Confidential by Ivantis

  pursuant to the Stipulation and Protective Order.




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                              I.     INTRODUCTION

        Ivantis’s Petition for Writ of Mandamus (“Petition”) seeks review of an

  order by the District Court issuing a permissive adverse inference jury instruction.

  Ivantis’s Petition should be denied.

        First, Ivantis’s Petition does not meet the strict procedural standard for

  mandamus, which requires there be no adequate alternative means to obtain the

  relief sought. Here, Ivantis seeks writ review of an order that may be appealed in

  the ordinary course after final judgment. The opportunity for a post-judgment

  appeal is an adequate remedy that precludes mandamus relief.

        Second, Ivantis’s criticism of the District Court’s ruling has no substantive

  merit. Ivantis identifies no error—much less a “clear abuse of discretion”—in the

  District Court’s finding that Ivantis intended to deprive Glaukos of evidence. To

  the contrary, the evidence of Ivantis’s intent (much of which Ivantis omits from its

  Petition) is overwhelming. Ivantis adopted a policy to automatically delete all

  emails after an inventor of the Glaukos asserted patents told Ivantis it “must

  infringe,” and after Ivantis had already retained litigation counsel. Ivantis

  continued to delete all emails even as it received repeated warnings that Glaukos

  would file suit, was repudiated by major investors based on concerns that Ivantis

  infringed Glaukos’s asserted patents, generated work product in anticipation of

  Glaukos filing suit, and even after Ivantis itself commenced adversary proceedings



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  Fed. R. Civ. P. 26(f)(3)(C), but did not. Its document destruction was not

  uncovered until nine months later. SAppx345.

        2.     Ivantis’s Retention of Litigation Counsel and Assertion of Work
               Product Privilege

        Ivantis next argues that its retention of litigation counsel and assertion of

  work product privilege do not support the District Court’s conclusion that Ivantis

  apprehended it would be sued. Pet. at 32–34.

        Ivantis’s argument rests on a mischaracterization of the District Court’s

  orders, suggesting the District Court relied on a “link” between Ivantis’s retention

  of counsel and assertion of work product privilege to find intent. As discussed

  above, the District Court “did not find intent based only on Ivantis’s . . . retention

  of outside counsel, or its assertion of the work product privilege over documents

  dating back to at least September 2017” but rather on the entire “sequence of

  events” from 2009 to 2018. Appx18; see also Appx7 (summarizing evidence). In

  other words, the District Court considered Ivantis’s retention of a “top patent

  litigation firm” and assertion of work product privilege as two of many factors that

  together established Ivantis anticipated this patent litigation, yet nonetheless

  continued to delete relevant documents. Appx10, Appx16-19.

        Ivantis also mischaracterizes the District Court’s order when it suggests the

  Court found no duty to preserve evidence until “early 2017.” Rather, the District

  Court found “not only that a reasonable party in Ivantis’s position would have


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  reasonably foreseen this litigation” based on the “relevant sequence of events”

  from 2009 to 2018, “but that Ivantis actually foresaw this litigation, at least by the

  beginning of 2017, if not earlier.” Appx7 (emphases added). The duty to preserve

  evidence is assessed based on an objective standard and arises once a reasonable

  party would anticipate suit, see Sanofi-Aventis, 748 F.3d at 1362, which here the

  District Court found was before 2017. Ivantis’s duty to preserve evidence therefore

  arose before 2017 when suit became reasonably foreseeable, not just when it later

  subjectively apprehended suit.

        Ivantis next argues that “the evidence submitted below demonstrated that

  Ivantis did not retain Arnold & Porter in 2013 to litigate.” Pet. at 33. Ivantis ignores

  the substantial evidence showing the exact opposite. As discussed above, in 2013

  Ivantis retained two patent trial litigators at Arnold & Porter specifically to perform

  “an analysis of certain patents owned by the Glaukos Corporation (“Glaukos”) in

  connection with Ivantis’ Hydrus Microstent.” Appx230-231. The two patent trial

  lawyers that Ivantis retained are the same lawyers who initially represented Ivantis

  in this litigation. Appx22-23. Further, Ivantis’s CEO testified that Arnold & Porter

  was retained as litigation counsel, Appx124, and in 2016 Ivantis assured investors

  that it had retained a “top patent litigation firm.” Appx18, SAppx292. The District

  Court considered this evidence (as one part of the entire “sequence of events”) and

  reasonably concluded it supported finding intent. Appx10, Appx17-19.



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        Similarly, while Ivantis argues the District Court “got it wrong” with respect

  to “Ivantis’s invocations of privilege,” Pet. at 34, Ivantis identifies no factual error

  in the District Court’s analysis. To the contrary, Ivantis admits it asserted work

  product privilege dating back to at least September 2017 (seven months before

  Ivantis stopped deleting documents), which is precisely what the District Court

  found. Appx6, Appx18. Whether or not Ivantis’s assertion of work product related

  to Arnold & Porter or to other lawyers does not affect that determination. The

  relevant fact established by Ivantis’s invocation of privilege is that Ivantis

  apprehended litigation, regardless of who performed the legal work. Nor does it

  matter that Ivantis did not log work product documents until 2017. Even assuming

  that no work product was created before that time (as opposing to being created

  and deleted), the District Court found that both Ivantis’s earlier “retention of

  outside counsel to perform due diligence” “and its assertion of the work product

  privilege, reveal that it apprehended it would be sued.” Appx7 (emphasis added);

  see also Appx17-18.

        3.     Ivantis’s Communications with Third Parties Warning Ivantis
               of Litigation.
        Ivantis next argues that the District Court erred when it concluded that the

  fact Ivantis received repeated warnings of litigation, yet took no steps to preserve

  evidence, further showed that Ivantis’s document destruction was intentional. Pet.

  at 34–36. Ivantis’s argument is meritless.


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        Ivantis also states that “courts around the country” have adopted the

  approach of deciding the issue of intent at trial. Pet. at 38. While district courts

  have discretion to do so, Federal Rule 37(e) and its Advisory Committee Notes are

  explicit that the “finding may be made by the court when ruling on a pretrial

  motion,” and this is the approach most commonly employed. See, e.g., Fed. R. Civ.

  P. 37(e)(2), Advisory Committee Notes, 2015 Amendment; Moody, 271 F. Supp.

  3d at 432; WeRide, 2020 WL 1967209, at *15; Colonies Partners, 2020 WL

  1496444, at *12; see also Mannion v. Ameri-Freight Sys. Inc., No. CV-17-03262,

  2020 WL 417492, at *4 (D. Ariz. Jan. 27, 2020) (“Judges are fully capable of

  making discovery-related factual findings. Moreover, presenting spoliation-related

  factual disputes to juries creates a high risk of confusion and prejudice. For these

  reasons, many other courts have concluded that the question of whether

  sanctionable spoliation occurred should not be a jury issue.”). There is thus no

  merit to Ivantis’s argument that the District Court clearly abused its discretion by

  finding intent before trial.

                                 IV.   CONCLUSION

        For the foregoing reasons, Ivantis’s Petition fails to meet both the procedural

  and substantive standards for mandamus, and should be denied.




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                                        Respectfully Submitted,

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                       CERTIFICATE OF COMPLIANCE

        Pursuant to Fed. R. App. P. 27(d) and 32(g), the undersigned hereby certifies

  that the foregoing filing complies with the relevant type-volume limitation of the

  Federal Rules of Appellate Procedure and Federal Circuit Rules because the filing

  has been prepared using a proportionally-spaced typeface and includes 7,691

  words. As permitted by Fed. R. App. P. 32(g), the undersigned has relied upon the

  word count feature of this word processing system in preparing this certificate.

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              CERTIFICATE OF CONFIDENTIAL MATERIAL

        Pursuant to Federal Circuit Rule 25.1(e)(2), the undersigned hereby certifies

  that the foregoing document contains 11 unique words (including numbers)

  marked confidential, not counting repeated uses of the same word(s). This number

  does not exceed the maximum of 15 words permitted by Fed. Cir. R. 25.1(d)(1)(A).

                                            Respectfully Submitted,

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                                    CENTRAL DISTRICT OF CALIFORNIA
          13
                                     SOUTHERN DIVISION-SANTA ANA
          14
               GLAUKOS CORPORATION, a                     Case No. 8:18-cv-00620-JVS-JDE
          15   Delaware Corporation,
                                                          DECLARATION OF DAVID VAN
          16                                Plaintiff,    METER IN SUPPORT OF
                                                          IVANTIS'S OPPOSITION TO
          17          V.                                  GLAUKOS'S MOTION FOR
                                                          ADVERSE-INFERENCE
          18   IV ANTIS, INC., a Delaware                 INSTRUCTION AND EXCLUSION
               Corporation,
          19                                              Judge:    Hon. James V. Selna
                                          Defendant.
          20                                              Hearing Date:      May 4, 2020
                                                          Hearing Time:      1:30 p.m.
          21                                              Courtroom:         lOC
          22                                              Pre-trial conference: June 29, 2020
          23                                              Trial date: July 28, 2020
          24

          25

          26                      REDACTED VERSION OF DOCUMENT
          27                      PROPOSED TO BE FILED UNDER SEAL
          28
                 DECLARATION OF DA YID VAN METER IN SUPPORT OF IVANTIS'S OPPOSITION TO GLAUKOS'S
                           MOTION FOR ADVERSE-INFERENCE INSTRUCTION AND EXCLUSION
                                          CASE NO. 8:18-CV-00620-JVS-JDE
1379794
      Case
       Case1:21-cv-01317-GBW-SRF
             8:18-cv-00620-JVS-JDE Document
                                   Document 210
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           1         I, David Van Meter, declare and state that:
           2         1.     My name is David Van Meter, and I am President and Chief
           3   Executive Officer of Ivantis, Inc. ("Ivantis"). I make this declaration in support of
           4   Ivantis's Memorandum in Opposition to Glaukos's Motion for Adverse-Inference
           5   Instruction and Exclusion. I have personal knowledge of the facts set forth herein,
           6   and if called to testify as a witness thereto, I would do so competently under oath.
           7         2.     Since January 2012, Ivantis has used an external information
           8   technology ("IT") vendor, KME, to handle its email systems, maintain Ivantis's
           9   servers, provide software installation, and generally provide IT infrastructure
          10   support.
          11         3.     In 2013, Ivantis was experiencing system-wide technical difficulties
          12   to the point that the IT systems, including document management and email
          13   accounts, were slow and cumbersome. KME advised Ivantis that the system-wide
          14   technical issues were the result of the large volume of data on the servers. At that
          15   point in time, all Ivantis emails were stored on Ivantis's server without any date
          16   limitation. As a solution for Ivantis's IT system errors, KME recommended that
          17   Ivantis adopt a traditional industry practice of maintaining email on the server for a
          18   period of one year-i. e., emails would be retained for 3 65 days after the
          19   communication.
          20         4.     This solution from KME was a system program that would
          21   automatically (without any action by the user) delete emails older than 365 days
          22   from the server unless those emails had been saved separately, i.e., onto the
          23   company's shared computer drive, by a user. The system program would be
          24   applied only to emails on the server (many of which were non-substantive
          25   communications). It would not apply to other electronic and hard-copy documents,
          26   such as design, validation, testing, and manufacturing documents. Ivantis
          27   implemented KME's recommendation in June 2013, and as a result, Ivantis'
          28
                                                         1
                 DECLARATION OF DAVID VAN METER IN SUPPORT OF IVANTIS'S OPPOSITION TO GLAUKOS'S
                           MOTION FOR ADVERSE-INFERENCE INSTRUCTION AND EXCLUSION
                                         CASE NO. 8: l 8-CV-00620-JVS-JDE
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           1   system-wide technical issues were resolved: the company's IT systems worked
           2   much better.
           3         5.       In April 2018, just days after Ivantis was served with the complaint in
           4   the current lawsuit, it implemented a document hold notice. This suspended the
           5   email system program as of April 19, 2018. As a result, emails from April 2017 to
           6   the present day are preserved.
           7         6.       Ever since I joined Ivantis in 2008, we openly and actively shared the
           8   Hydrus Microstent design with others in our industry. For example, in 2009 and in
           9   subsequent years, Ivantis participated in the Cutting Edge Symposium, an annual
          1O meeting designed to facilitate information-sharing between companies and

          11   glaucoma surgeons. In June 2011, the Hydrus was presented at the World
          12   Glaucoma Congress in Paris, France. In March 2012, four separate presentations
          13   of the Hydrus technology, including clinical results, were made at the American
          14   Glaucoma Society meeting in New York.
          15         7.       In 2013, Ivantis's Hydrus was featured as a solution for glaucoma on
          16   the nationally-televised CBS show "The Doctors." Dr. Andrew Ordon on the show
          17   described the Hydrus as "a huge innovation." Ivantis has produced in this
          18   litigation a video clip of"The Doctors" television show at IVNTS_00212230.
          19         8.       The minimally invasive glaucoma surgery ("MIGS") industry is small
          20   and close-knit. Companies and personnel frequently cross paths at conferences
          21   and other events.




          28         9.       In April 2013, I shared Ivantis's plans regarding a head-to-head
                                                          2
                 DECLARATION OF DA YID VAN METER IN SUPPORT OF IVANTIS'S OPPOSITION TO GLAUKOS'S
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                                          CASE NO. 8: 18-CV-00620-JVS-JDE
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           1   clinical trial comparing the Hydrus to Glaukos's iStent product at the
           2   Ophthalmology Innovation Summit, also known as OIS@ASCRS (American
           3   Society of Cataract and Refractive Surgery). Three other CEOs in the MIGS
           4   industry were onstage with me when I made that announcement, including
           5   Glaukos's CEO, Thomas Bums. I had previously presented publicly Ivantis's
           6   plans to conduct the head-to-head clinical trial at the Ophthalmology Futures
           7   Forum in Milan, Italy in September 2012.
           8          10.




                                                  I had no reason to believe Glaukos would bring
          15   litigation against Ivantis, because before it filed the present lawsuit, Glaukos never
          16   sent a demand letter or any other communication to Ivantis regarding Glaukos's
          17   patents, licensing, litigation, or any potential infringement by Ivantis.
          18         I declare under penalty of perjury under the laws of the United States that
          19   the foregoing is true and correct to the best of my knowledge, and that this
          20   declaration was executed on April l_, 2020 in       Irv ,'n -(              , California.

          21                                            ~~-
          22                                           David Van M e t e r ~

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                 DECLARATION OF DAVID VAN METER IN SUPPORT OF IVANTIS'S OPPOSITION TO GLAUKOS'S
                           MOTION FOR ADVERSE-INFERENCE INSTRUCTION AND EXCLUSION
                                         CASE NO. 8:18-CV-00620-JVS-JDE
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                         EXHIBIT 17
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                      Plaintiff Sight Sciences, Inc.7217
                                                     Objects to Defendants’ Redactions

From:        Christopher Timothy Shen
Sent:        2/23/2017 4:17:53 PM
To:          David DVanMeter@lvantis
CC:          Jennifer Wilson
Subject:     Re: lvantis BOD Meeting



Dave

Very good to see you as well! Hope you made it up to Big Bear without issues.

Our email issues seem to be resolved. Please resend so we have a copy for our records.

Chris

Christopher Shen, MD
Managing Director
VERTEX HEALTHCARE




On Feb 23, 2017, at 07:47, Dave Van Meter                                  wrote:

Chris, Jennifer definitely tried to resend via Dropbox yesterday afternoon. Jennifer, please send again, and
maybe even try to send outside of Dropbox.
Thx.

Chris, the Singapore issue seems to be near resolution. Thanks for your help.

Great seeing you.

Dave

Sent from my iPhone

On Feb 22, 2017, at 11:56 PM, Christopher Timothy Shen                              wrote:

Dave

I don't believe the deck came through for me.

Btw, how are things progressing in SG?

Chris




                                                                                             IVANTIS_SS_00165093
    Case 1:21-cv-01317-GBW-SRF Document 210 Filed 06/20/23 Page 131 of 146 PageID #:
                                                 7218
                     Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions




On Feb 21, 2017, at 07:37, Dave Van Meter                                             wrote:

Dear lvantis Board:

I wanted to let you all know - in the event anyone missed it - that the Board deck went out to you all Sunday
night via Dropbox. If anybody has any issues receiving or accessing, please let me know.

Thanks, and look forward to seeing most of you tomorrow.

Best,
Dave

Sent from my iPhone

On Feb 7, 2017, at 1:42 PM, Dave Van Meter                                             wrote:

Dear lvantis Board:

I hope you all are well.




                                     Initial meeting was 2-5 (for the new investors, just FYI, this 2 pm start is the usual
time slot so the Asia Pac investors can call in). let's all plan on 2-6, and if we end early, great.

Dinner will follow nearby at 6:30 pm. Jennifer will send details.

looking forward to seeing you all.

Thanks,
Dave

Dave Van Meter
President & CEO
Ivantis, Inc.
38 Discovery, Suite 150
Irvine, CA 92618




From: Dave Van Meter
Date: Thursday, February 2, 2017 at 12:39 PM
To: Ali Behbahani                          , Doug Roeder                                             , "Butler, Tara
                                                                      Brant Heise                                      ,



                                                                                                          IVANTIS_SS_00165094
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                                                  7219 to Defendants’ Redactions
Tananbaum                           , "Heng Tong CHOO (EDBI)"                                              , Ben Gust
                              , Peter Kolchinsky                           , Tak Cheung                              ,
"jgraf@nea,com" <igraf@nea,com>, Jay Graf                      , Chris Shen                                       ,
Randy Alexander                          , Zach Scheiner <zschelner@racap,com>
Cc: "Feuchter, Bruce"                       , David Boyd                        , David Boyd

Subject: lvantis Update - Addition of Todd Abraham, Vice President of Operations

Dear lvantis Board:

Greetings from Australia, where we have been meeting this week (and today) with the group of surgeons who have
done over 600 Hydruses in the widest array of cases, from mild glaucoma in phaco, to standalone in the most advanced
of disease. Yesterday, we had an elderly female patient who was blind in one eye from hypotony from prior a trab
procedure gone bad (opaque cornea), and the sole remaining eye had significant visual loss (could only count fingers),
was at IOP 28, and on 4 meds, including Diamox, which was making her vomit every day. The surgeon, after nearly 100
Hydrus cases, has such confidence in Hydrus that he trusted the device to be the last option he would try to save her
eyesight and get her off the medication that, in some ways, was making her waste away. The procedure went perfectly
and took only a few minutes. The rep for the microscope company who was there, and who had seen a double iStent
case the prior day at another hospital (which he said required 4 separate attempts to regrasp and properly position),
was very, very impressed at the difference in terms of elegance of delivery. That was a nice, powerful reminder of why
we are doing this and the value being created here.

Anyway, the point of this note is not that, but rather, to let you know we have already taken steps as a result of the C
raise to significantly augment our capabilities to build lvantis, and we could not have done better. Todd Abraham is one
of the most sought after Ops leaders in Orange County, he recently had a gap between opportunities, and we jumped on
it. I knew Todd 15 years ago, and his reputation in this industry is stellar. I know his CEO from Endologix very well and
the references are all strong. Several BOD members interviewed him, and the feedback was consistently positive. The
team and I could not be more pleased at what he will bring in terms of elevating lvantis into a world class, commercial
manufacturing organization. Todd will start officially at the end of March. Details below.

See you all in a few weeks.

Best,
Dave

Dave Van Meter
President & CEO
Ivantis, Inc.




From: Dave Van Meter
Date: Thursday, February 2, 2017 at 12:03 AM
To: Irvine Personnel                             , lvantis Employees
Subject: Addition of Todd Abraham, Vice President of Operations

Dear Fellow lvantians:




                                                                                                    IVANTIS_SS_00165095
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As you all know, 2017 is a pivotal year for the Company. With all of our patients in the HORIZONS (aka HYDRUS IV) US
pivotal trial reaching 2 year follow up by mid year, and with the subsequent submission of PMA package to FDA, we are
highly optimistic we will receive FDA approval in 2018. Thanks again to all of you for your great work in bringing the
HORIZONS trial to the doorstep of approval.

With the approval and launch of the Hydrus device just around the corner, we have a tremendous opportunity before us
to dramatically alter glaucoma patient care in this country.




In anticipation of commercial launch within the next 18 months within the largest market in the world, we will need to
evolve into a world class manufacturing organization capable of achieving very high volumes at the most competitive of
standard costs, and with a supply chain strategy that will give us competitive advantage in the market. As such, the
Board and I have determined that additional senior leadership with many years of commercial scale medical device
manufacturing experience is necessary.

In recognition of this next stage in our development, it gives me tremendous pleasure to announce the appointment of
Todd Abraham to the position of Vice President, Operations, reporting directly to me. Todd is one of the most respected
medical device company Operations leaders in Orange County. Todd started his career at Cordis Corporation (which
became a division of Johnson & Johnson midway through his tenure there), where he rose quickly and eventually
oversaw the manufacturing facility (800 employees) for the leading coronary stent in the US market. In the early 2000's,
Todd joined Edwards, one of the most highly regarded and consistently excellent medical device companies in the world
(also stents), where, in various stints, he ran global supply chain management, lead manufacturing for heart valves,
peripheral stents (nitinol), and grafts, and also was GM of a business within Edwards. In 2010, Todd went to Endologix,
an OC based, publicly traded medical device company in AAA stent grafting, where he was Vice President, Global
Operations, and served on the Executive leadership team for 5 years. In 2015, Todd left Endologix and served in a
consulting capacity for several medical device companies. Of note, Todd has also worked in the early stage, startup
environment, and is known to be a "team player", and is exactly the type of individual who will "roll up the sleeves" and
dive in, which makes him a great fit for lvantis.

We are fortunate to have Todd joining the team, and I hope you will all join me in warmly welcoming him. Todd will
officially start at the end of March, but will be occasionally in the office between now and then. David and all of
Manufacturing will report to Todd. Ken will continue to lead our R&D and Intellectual Property efforts, as well as
supporting the development of the Manufacturing module through the PMA process, and will continue to report to me.

Best Regards,
Dave

Dave Van Meter
President & CEO
Ivantis, Inc.




                                                                                                    IVANTIS_SS_00165096
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                        EXHIBIT 18




                           (Excerpted)
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                                        IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF DELAWARE

       SIGHT SCIENCES, INC.,                                  )        C. A. No.: 21-1317-GBW-SRF
                                                              )
                          Plaintiff,                          )        JURY TRIAL DEMANDED
                                                              )
                                       v.                     )
                                                              )
       IVANTIS, INC., ALCON RESEARCH LLC,                     )
       ALCON VISION, LLC AND ALCON INC.,                      )
                                                              )
                          Defendants.                         )

              PLAINTIFF SIGHT SCIENCES, INC.’S OBJECTIONS AND RESPONSES TO
                DEFENDANTS’ FOURTH SET OF INTERROGATORIES (NOS. 19-21)

                Pursuant to Rule 26 and 33 of the Federal Rules of Civil Procedure and the Local Rules of

         this Judicial District, Plaintiff Sight Sciences, Inc. (“Sight Sciences” or “Sight”) hereby responds

         to Defendants Ivantis, Inc., Alcon Research LLC, Alcon Vision, LLC, and Alcon Inc.’s

         (“Defendants”) Fourth Set of Interrogatories (Nos. 19-21), dated May 5, 2023.

                                               GENERAL RESPONSES

                1.         Sight Sciences’ response to the Interrogatories is made to the best of Sight Sciences’

         present knowledge, information, and belief. This response is at all times subject to such additional

         or different information that discovery or further investigation may disclose and, while based on

         the present state of Sight Sciences’ recollection, is subject to such refreshing of recollection, and

         such additional knowledge of facts, as may result from Sight Sciences’ further discovery or

         investigation.

                2.         Sight Sciences reserves the right to make any use of, or to introduce at any hearing

         and at trial, information and/or documents responsive to the Interrogatories but discovered

         subsequent to the date of this response, including, but not limited to, any such information or

         documents obtained in discovery in this action.



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  objects to this Interrogatory to the extent it seeks information protected by the attorney-client

  privilege, the work product doctrine, or any other applicable privilege or protection from

  discovery, or to the extent it seeks a legal conclusion or legal analysis and would implicate the

  mental impressions of counsel to provide a proper response.

             Subject to the foregoing general and specific objections, Sight Sciences responds as

  follows:

             Pursuant to Federal Rule of Civil Procedure 33(d), Sight Sciences identifies the following

  documents from which information responsive to this Interrogatory may be ascertained:

  SGHT0166268;           SGHT0152605;         SGHT0153024;        SGHT0153029;         SGHT0167451;

  IVANTIS_SS_00420586; IVANTIS_SS_00337117.

             Sight Sciences continues to reserve the right to modify and/or supplement this response as

  fact and expert discovery proceed.

  INTERROGATORY NO. 21:
             Explain the complete factual and legal basis of Sight’s contention that spoliation has

  occurred in this case and any remedy Sight contends is appropriate for such purported spoliation.

  See Mar. 9, 2023 Sight’s 2d Supp. Resp. to Defendants Interrog. Nos. 4, 5, and 6. A complete

  response should include an identification of the date(s) on which Sight believes Defendants should

  have reasonably anticipated litigation with respect to the issues in this case triggering a duty to

  preserve evidence related to the issues in this case, along with the complete factual and legal basis

  for which Sight believes Defendants should have reasonably anticipated litigation as of that (those)

  date(s).

  RESPONSE TO INTERROGATORY NO. 21:

             Sight Sciences incorporates by reference its General Responses and Objections. Sight

  Sciences further objects to this Interrogatory to the extent that it seeks information protected by

  the attorney-client privilege, attorney work product doctrine, or any other applicable privilege or

  protection from discovery, or to the extent it seeks a legal conclusion or legal analysis and would




                                                     10
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  implicate the mental impressions of counsel to provide a proper response. Sight further objects to

  the extent it seeks to apply a legal definition of “reasonably anticipated” or “duty to preserve.”

          Subject to the foregoing general and specific objections, Sight Sciences responds as

  follows:

          On or around March 5, 2008, Ivantis became aware of the disclosures in the patent

  application to which the Asserted Patents claim priority (U.S. Patent Appl. No. 11/475,523 (“the

  ’523 Application”)), which published as U.S. Publ. No. 2007/0298068 (“the ’068 Publication”).

  See Defendants’ May 30, 2023 Third Supplemental Response to Interrogatory No. 1 at p. 9.

          Between late 2008 and early 2009, Ivantis sought to purchase the ’523 Application and the

  related intellectual property from Sight. On December 18, 2008, Ivantis’s then-counsel Jim Shay

  of Shay Glenn LLP indicated that he had been forwarded the ’068 Publication from Ivantis and

  asked Sight’s patent counsel Mika Mayer to set up a meeting between Ivantis and the patent

  application owners to discuss the ’068 Publication. See SGHT0029566; SGHT0029567-568;

  SGHT0029569; SGHT0029570; SGHT0029571-572; SGHT0029573-574. Paul Badawi met with

  Doug Roeder at the offices of Delphi Ventures (3000 Sand Hill, Building 1, Suite 135) on January
  7, 2009. See SGHT0029575-577. During the meeting, Mr. Roeder explained that Delphi Ventures

  was an investor in Ivantis and generally described Ivantis’s business. Based upon the information

  Mr. Roeder shared, Mr. Badawi realized that Ivantis would be a competitor. Mr. Badawi explained

  to Mr. Roeder that his goal was to build a company around the intellectual property he and his

  brother had developed, and rejected Mr. Roeder’s overtures made on behalf of Ivantis. There were
  no further discussions.

          On October 16, 2012, U.S. Patent No. 8,287,482 (“the ’482 patent”) (an Asserted Patent)

  issued from the ’523 Application. Shortly thereafter, in 2013, Ivantis hired outside patent litigation

  counsel at Arnold & Porter Kaye Scholer LLP (“Arnold & Porter”). Glaukos Corp. v. Ivantis,

  Inc., 2020 WL 10501850, at *5 (C.D. Cal. Jun. 17, 2020) (“[I]n 2013, Ivantis hired outside

  litigation   counsel   to   conduct   diligence   related   to   Glaukos’s    patents.”);   see   also

  IVANTIS_SS_00172370-703 (Sept. 26, 2019 Dep. Tr. of David Van Meter) at -424 (55:3-12)


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  (testifying that Ivantis first retained litigation counsel from Arnold & Porter “in roughly, I would

  say, 2013 or so”); In re Ivantis, Inc., C.A. No. 20-147, D.I. 2-1 (Ivantis’s Petition for Writ of

  Mandamus) at 43 (Fed. Cir. Aug. 24, 2020) (stating that Ivantis hired Arnold & Porter in 2013 “to

  handle diligence-related matters”); id. at D.I. 15 (Glaukos’s Response) at 23 (Fed. Cir. Sept. 15,

  2020) (“[I]n 2013 Ivantis retained two patent trial litigators at Arnold & Porter specifically to

  perform ‘an analysis of certain patents owned by [Glaukos] in connection with Ivantis’ Hydrus

  Microstent.”). Ivantis argued in the Glaukos Litigation that its retention of Arnold & Porter in

  2013 to perform patent diligence was not related to that litigation. 2020 WL 10501850, at *4;

  IVANTIS_SS_00172424.

         In June 2013, the same year Ivantis hired outside patent litigation counsel, Ivantis instituted

  an automatic email deletion policy that “automatically (without any action by the user) delete[d]

  emails older than 365 days from the server”—without regard to the email’s subject matter. See

  Glaukos Corp. v. Ivantis, Inc., 8:18-cv-00620-JVS-JDE (“Glaukos Litigation”), D.I. 495-12 (Van

  Meter Decl.), ¶ 4 (C.D. Cal. Apr. 10, 2020); see also id. at ¶ 3 (“[E]mails would be retained for

  365 days after the communication.”); see also id. at D.I. 425-23 (C.D. Cal. Mar. 23, 2020) (“Ivantis
  had an email retention policy in place for several years that automatically deletes emails after 12

  months.”); see also Glaukos, 2020 WL 10501850, at *6, n.4 (C.D. Cal. June 17, 2020) (providing

  the text of the adverse inference instruction, including that Ivantis “adopted and maintained a

  policy that deleted all company email after 12 months, resulting in the destruction of virtually all

  emails at Ivantis that pre-date April 2017”) (emphasis added). Ivantis suspended this automatic
  email deletion policy on April 19, 2018; “[t]hus, emails as of April 19, 2017 were not subject to

  the mandatory deletion policy.” 2020 WL 10501850, at *1; see also Glaukos Litigation, D.I. 495-

  12 (Van Meter Decl.), ¶ 5. Accordingly, Ivantis’s automatic deletion policy affected emails from

  June 2013 to April 19, 2017.

         To the extent emails regarding Sight’s Asserted Patents (or related applications or

  publications) existed on Ivantis’s server between June 2013 and April 19, 2017, those emails

  would have been automatically deleted after 365 days. Notably, during this time period of


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                  Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions

  automatic deletion, two additional Asserted Patents issued from the ’523 Application—U.S. Patent

  Nos. 9,370,443 (“the ’443 patent”) on June 21, 2016, and 9,486,361 (“the ’361 patent”) on

  November 8, 2016.




                                             cf. In re Ivantis, Inc., C.A. No. 20-147, D.I. 15 at 31

  (“[I]n 2016 Ivantis assured investors that it had retained a ‘top patent litigation firm.’”). On

  information and belief,                                   would have—or at minimum should

  have—identified the ’482 patent, which issued in 2012, and the ’443 patent, which issued in June

  2016.




                                                                       that would or should have

  identified at least two of the Asserted Patents, Defendants have produced documents indicating


                                                13
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                    Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions

  that Ivantis and/or its legal counsel monitored the Badawi brothers’ and then Sight’s patent

  portfolio ever since Ivantis’s unsuccessful purchasing attempt in 2008, for example:

     •   In “Summer 2007[,]” Ivantis conducted a “[r]obust patent search” that was “periodically

         updated[.]” IVANTIS_SS_00417127 at -147 (Date Last Modified 3/6/2008) (emphasis

         added).

     •




     •   An “Expense detail” spreadsheet for Denali Vision includes expenses for “Consulting – IP

         Search” with projections through December 2009. IVANTIS_SS_00417162 (“Vision

         detail” tab, row 20) (Date Last Modified 3/6/2008).

     •   Defendants produced a copy of Sight’s ’068 patent publication with a Date Created of

         12/6/2010 and Custodian “Paul Badawi.” IVANTIS_SS_00337118.
     •   Defendants produced a Sight Company Presentation with the following relevant metadata:

         Date Created 3/15/2013; Date Last Modified 9/25/2013; Filename Sight Sciences

         Presentation; Author Cynthia Kalb; Custodian Paul Badawi.

     •   In February 2017, an Ivantis Board of Directors meeting




     •   During his September 18, 2019 deposition in the Glaukos Litigation, Todd Abraham

         testified that “[Ivantis’s] team . . . reviews the [IP portfolio] landscape extensively.”

         IVANTIS_SS_00171981 at -056 (76:15-19).

     •   On October 22, 2019, Ken Galt sent an email




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                       Plaintiff Sight Sciences, Inc. Objects to Defendants’ Redactions




         Accordingly, on information and belief, Ivantis was aware of Sight’s patent portfolio,

  including the Asserted Patents, and knew that the Hydrus Microstent infringed at least one claim

  of the Asserted Patents. Ivantis’s monitoring of Sight and Sight’s patent portfolio starting in

  December 2008 at latest (as described above), coupled with Ivantis’s automatic email destruction

  policy from June 2013 to April 2017, indicates, on information and belief, that Ivantis spoliated

  evidence relating to Ivantis’s infringement of the Asserted Patents. Bull v. United Parcel Serv.,

  Inc., 665 F.3d 68, 73 (3d Cir. 2012); Micron Tech., Inc. v. Rambus Inc., 645 F.3d 1311, 1323 (Fed.

  Cir. 2011) (finding that defendant “was on notice of potentially infringing activities” following

  licensing discussions because “[o]nce the patent issued, the gun was loaded; when the targets were

  acquired, it was cocked; all that was left was the pull the trigger by filing a complaint”).

         Sight expects that the noticed depositions of third parties Jim Shay, Steve McAuley, and

  Matthew Wolf will further reveal that Ivantis knew or should have known that it infringed at least

  one claim of the Asserted Patents and anticipated or should have anticipated that a lawsuit would
  be filed after the Hydrus’s commercialization.Sight also expects that the outstanding document

  request subpoenas to third parties Steve McAuley and Arnold & Porter will further reveal that

  Ivantis knew or should have known that it infringed at least one claim of the Asserted Patents and

  anticipated or should have anticipated that a lawsuit would be filed after the Hydrus’s

  commercialization.
         Additionally, Sight’s pending motion to compel production of certain litigation materials

  from the Glaukos Litigation and its related appeal (collectively, “Glaukos Litigation Materials”),

  will be heard by Judge Fallon on June 12, 2023. (D.I. 170; see also May 24, 2023 Docket Entry.)

  If Judge Fallon grants Sight’s motion to compel, Sight expects that the production of the Glaukos

  Litigation Materials—and particularly the unredacted briefs and appendices filed in In re Ivantis,

  Inc., C.A. No. 20-147 (Fed. Cir.)—will reveal relevant facts and Sight will supplement this

  Interrogatory upon receiving such information.


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         Appropriate remedies for spoliation by Ivantis in this case include (1) an adverse inference

  instruction under Fed. R. Civ. P. 37(e)(2), (2) a finding by the Court that this is an exceptional case

  under 35 U.S.C. § 285, (3) a finding by the jury that Ivantis’s and Alcon’s infringement was and

  is willful and an award of treble damages for past infringement, (4) entry of a permanent injunction

  against Defendants based on a finding, inter alia, that the balance of the equities favors Sight

  Sciences and not Defendants as a result of Ivantis’s spoliation of evidence, (5) a sanction

  prohibiting Ivantis from referring to any pre-suit investigation of the Asserted Patents as a basis

  for believing that it did not infringe or that the Asserted Patents were invalid, see 2020 WL

  10501850, at *4, and (6) pursuant to Rule 37 of the Federal Rules of Civil Procedure, an award of

  Sight Sciences’ attorneys’ fees and costs associated with briefing and arguing discovery motions

  relating to Sight’s motions to compel discovery relating to Ivantis’s spoliation.

         Sight Sciences continues to reserve the right to modify and/or supplement this response as

  fact and expert discovery proceed.




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  Dated: June 5, 2023           Attorneys for Sight Sciences, Inc.




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                                        CERTIFICATE OF SERVICE

                I, Melanie K. Sharp, Esquire, hereby certify that on June 5, 2023, I caused a copy of

         Plaintiff Sight Sciences, Inc.’s Objections and Responses to Defendants’ Fourth Set of

         Interrogatories (Nos. 19-21) to be served on the following counsel of record in the manner

         indicated below:

         BY E-MAIL
          John W. Shaw                               Gregg LoCascio
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                                 CERTIFICATE OF SERVICE

         I, Melanie K. Sharp, Esquire, hereby certify that on June 6, 2023, I caused to be

  electronically filed a true and correct copy of Letter to the Honorable Sherry R. Fallon from

  Melanie K. Sharp regarding Plaintiff Sight Sciences, Inc.’s Motion to Compel with the Clerk of

  the Court using CM/ECF, which will send notification to the following counsel of record:

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         I further certify that on June 6, 2023, I caused a copy of the foregoing document to be

  served on the above-listed counsel of record and on the following non-registered participants in

  the manner indicated:

  BY E-MAIL:
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